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                    EXHIBIT F
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                    PLEDGE AND SECURITY AGREEMENT

                                   among

                      BRIDGELINK ENGINEERING LLC,

                EACH OF THE GUARANTORS PARTY HERETO

                                     and

                          BANCORPSOUTH BANK,
                           as Administrative Agent

                    ____________________________________

                          Dated as of August 6, 2021
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EXHIBITS:

Exhibit A                                Form of Copyright Security Agreement
Exhibit B                                Form of Patent Security Agreement
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         PLEDGE AND SECURITY AGREEMENT, dated as of August 6, 2021 (as amended, restated,
supplemented or otherwise modified, this “Agreement”), among BRIDGELINK ENGINEERING
LLC, a Delaware limited liability company (the “Borrower”), each Subsidiary party hereto as of the
date hereof or which becomes a party hereto in accordance to Article 10 (each such Subsidiary,
individually, a “Guarantor” and, collectively, the “Guarantors”), and BANCORPSOUTH BANK, as
administrative agent (in such capacity, the “Administrative Agent”) under the Credit Agreement referred
to in the next paragraph acting on behalf of the Secured Parties.

                                             RECITALS

         A.     Reference is made to the Credit Agreement, dated as of August 6, 2021, among the
Borrower, the Lenders party thereto and the Administrative Agent (as the same may be amended,
restated, supplemented or otherwise modified from time to time, the “Credit Agreement”).

      B.      The Credit Parties have agreed to make Credit Extensions to or for the account of the
Borrower pursuant to, and upon the terms and subject to the conditions specified in, the Credit
Agreement.

         C.     Each Grantor further acknowledges that it will derive substantial direct and indirect
benefit from the making of the Credit Extensions.

        D.       The execution and delivery by the Grantors of this Agreement is a condition precedent
to the effectiveness of the Credit Agreement, and the Credit Parties would not have entered into the
Credit Agreement if the Grantors had not executed and delivered this Agreement.

        Accordingly, the parties hereto agree as follows:

                                             ARTICLE 1

                        DEFINITIONS AND RULES OF CONSTRUCTION

                Section 1.1     Credit Agreement Defined Terms. Capitalized terms used herein and
not defined herein, and the term “subsidiary”, shall have the meanings assigned to such terms in the
Credit Agreement.

                Section 1.2      Uniform Commercial Code Terms and Provisions. Unless otherwise
defined herein or in the Credit Agreement, capitalized terms used herein that are defined in the Uniform
Commercial Code (as defined below) have the meanings assigned to them in the Uniform Commercial
Code, including the following: “Account”; “Chattel Paper”; “Certificated Security”; “Commodity
Contract”; “Commodity Intermediary”; “Document”; “Equipment”; “Financial Asset”; “Fixtures”;
“General Intangible”; “Goods”; “Instrument”; “Inventory”; “Letter of Credit Right”; “Proceeds”;
“Record”; “Securities Intermediary”; “Security”; “Security Certificate”; “Security Entitlement”; and
“Uncertificated Security”. All references herein to provisions of the Uniform Commercial Code shall
include all successor provisions under any subsequent version or amendment to any Article of the
Uniform Commercial Code. In the event that a term is defined in Article 9 of the Uniform Commercial
Code differently than in another Article of the Uniform Commercial Code, such term will have the
meaning specified in Article 9 of the Uniform Commercial Code.

               Section 1.3      Other Defined Terms. As used in this Agreement, the following terms
have the meanings specified below:
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                “Account Debtor” means each Person who is or may become obligated to a Grantor in
respect of any Receivable or any Supporting Obligation or Collateral Support relating thereto.

                 “Additional Grantor” has the meaning assigned to such term in Article 10.

                 “Applicable Date” means (a) in the case of any Grantor (other than an Additional
Grantor), the date hereof, and (b) in the case of any Additional Grantor, the date of the Subsidiary Joinder
Agreement executed and delivered by such Additional Grantor.

               “Applicable Filing Offices” means for the Closing Date, the filing offices set forth on
Schedule 5.16(a) of the Credit Agreement and thereafter, as specified by notice from Borrower to the
Administrative Agent in the case of filings, recordings or registrations required by Section 6.12 of the
Credit Agreement.

                “Approved Depository” means a depository bank in which a Controlled Account is
maintained by a Grantor which is reasonably acceptable to the Administrative Agent and with respect
to which such Grantor has delivered to the Administrative Agent an executed Control Agreement.

                “Approved Intermediary” means a Securities Intermediary or a Commodity
Intermediary, as applicable, in respect of a Securities Account, Commodities Account or Commodity
Contract maintained by a Grantor, which is reasonably acceptable to the Administrative Agent and with
respect to which such Grantor has delivered to the Administrative Agent an executed Control
Agreement.

                 “Authorization” means, collectively, any license, approval, permit or other
authorization issued by any Governmental Authority.

                 “Borrower” has the meaning assigned to such term in the preamble to this Agreement.

               “Claim Proceeds” means, with respect to any Commercial Tort Claim or any Collateral
Support or Supporting Obligation relating thereto, all Proceeds thereof, including all insurance proceeds
and other amounts and recoveries resulting or arising from the settlement or other resolution thereof, in
each case regardless of whether characterized as a “commercial tort claim” under Article 9 of the
Uniform Commercial Code or “proceeds” under the Uniform Commercial Code.

                 “Collateral” has the meaning assigned to such term in Section 2.1.

                 “Collateral Access Agreement” means any agreement in favor of the Administrative
Agent, for the benefit of the Secured Parties, of any lessor, warehouseman, processor, consignee or other
Person in possession of, having a Lien upon or having rights or interests in, any of the Collateral waiving
or subordinating Liens or certain other rights or interests such Person may hold in regard to the Collateral
and providing the Administrative Agent access to its Collateral subject to the terms and conditions set
forth therein, which such agreement shall, in any event, be in form and substance reasonably satisfactory
to the Administrative Agent.

                 Collateral Records” means all books, instruments, certificates, Records, ledger cards,
files, correspondence, customer lists, blueprints, models, drawings, technical specifications, manuals,
warranties and other documents, and all computer software, computer printouts, tapes, disks and related
data processing software and similar items, in each case that at any time represent, cover or otherwise




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evidence, or contain information relating to, any of the Collateral or are otherwise necessary or helpful
in the collection thereof or realization thereupon.

                 “Collateral Support” means all property (real or personal) assigned, hypothecated or
otherwise securing any of the Collateral, and shall include any security agreement or other agreement
granting a lien or security interest in such real or personal property.

                “Commercial Tort Claim” means, collectively, (a) each Commercial Tort Claim (as
defined in the Uniform Commercial Code) other than any Commercial Tort Claim (as defined in the
Uniform Commercial Code) in which a Grantor seeks damages arising out of torts committed against it
that could reasonably be expected to result in a damage award to it of less than $250,000, including all
claims described on Annex 2, and (b) all Claim Proceeds.

                  “Commodity Accounts” means, collectively, with respect to a Grantor, (a) each
“commodity account” (as defined in the Uniform Commercial Code) maintained by such Grantor and
all accounts and sub-accounts relating to any of the foregoing accounts including all such accounts
described on Annex 3 and (b) all cash, funds, checks, Commodity Contracts, notes and instruments from
time to time from time to time held in or credited to any of the accounts or sub-accounts described in
clause (a) of this definition.

                 “Control” means (a) in the case of a Deposit Account, “control,” as such term is defined
in Section 9-104 of the Uniform Commercial Code, (b) in the case of any Security Entitlement,
“control,” as such term is defined in Section 8-106 of the Uniform Commercial Code and (c) in the case
of a Commodity Contract, “control,” as such term is defined in Section 9-106 of the Uniform
Commercial Code.

                “Control Agreement” means an agreement, in form and substance satisfactory to the
Administrative Agent, among the applicable Grantor, the Administrative Agent and an Approved
Depository or Approved Intermediary, as applicable, pursuant to which the Administrative Agent
obtains Control over a Deposit Account, Securities Account or Commodity Account, as applicable.

                “Copyright License” means any written agreement, now or hereafter in effect, granting
any right to any third party under any Copyright now or hereafter owned or held by or behalf of any
Grantor or which any Grantor otherwise has the right to license, or granting any right to any Grantor
under any Copyright now or hereafter owned by any third party, and all rights of any Grantor under any
such agreement, including each agreement described on Annex 4.

                “Copyright Security Agreement” means a security agreement with respect to
Copyrights, substantially in the form of Exhibit A.

                  “Copyrights” means all of the following: (a) all copyright rights in any work subject to
the copyright laws of the United States of America or any other country, whether as author, assignee,
transferee or otherwise, (b) all registrations and applications for registration of any such copyright in the
United States of America or any other country, including registrations, recordings, supplemental
registrations and pending applications for registration in the United States Copyright Office or any
similar offices in the United States of America or any other country, including those described on Annex
4, (c) all rights and privileges arising under applicable law with respect to the use of such copyrights,
(d) all reissues, renewals, continuations and extensions thereof and amendments thereto, and (e) all
income, fees, royalties, damages, claims and payments now or hereafter due and/or payable with respect
thereto, including damages and payments for past, present or future infringements thereof.



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                 “Credit Agreement” has the meaning assigned to such term in the Recitals to this
Agreement.

                 “Deposit Accounts” means, collectively, with respect to a Grantor, (a) all “deposit
accounts” (as defined in the Uniform Commercial Code) maintained by such Grantor and all accounts
and sub-accounts relating to any of the foregoing accounts including all such accounts described on
Annex 3 and (b) all cash, funds, checks, notes and instruments from time to time on deposit in any of
the accounts or sub-accounts described in clause (a) of this definition.

                  “Excluded Accounts” means any Deposit Account or Securities Account that is solely
used for the holding of (i) funds used for payroll and payroll taxes and other employee benefit payments
to or for the benefit of a Loan Party’s employees, (ii) taxes required to be collected, remitted or withheld
(including federal and state withholding taxes (including the employer’s share thereof)), and (iii) funds
which any Loan Party holds in trust or as an escrow or fiduciary for another Person that is not a Loan
Party.

                   “Excluded Assets” means (a) any Margin Stock (including any Margin Stock held
through a Securities Account), (b) solely to the extent that the Borrower and the Administrative Agent
reasonably determine that a pledge hereunder of a greater percentage of Voting Equity Interests could
reasonably be expected to result in material adverse tax consequences to the holder of any applicable
Equity Interests, Voting Equity Interests in any Foreign Subsidiary or Foreign Subsidiary Holdco in
excess of 65% of the Voting Equity Interests therein, (c) motor vehicles and other assets subject to
certificates of title or ownership to the extent a security interest therein cannot be perfected by a filing
of a financing statement, (d) Letter of Credit Rights to the extent a security interest therein cannot be
perfected by a filing of a financing statement, (e) any United States intent-to-use trademark application
prior to the filing of a “Statement of Use” or “Amendment to Allege Use” with respect thereto, (f) any
right under any contract or agreement constituting a General Intangible, but only to the extent and for
so long as the granting of a security interest therein or an assignment thereof would violate any
applicable law (but only to the extent any such prohibition on the granting of security interests is not
rendered ineffective by, or is not otherwise unenforceable under, the Uniform Commercial Code or
applicable law), other than proceeds and receivables thereof, the assignment of which is expressly
deemed effective under the Uniform Commercial Code or other similar applicable law notwithstanding
such prohibition, (g) any contract, instrument, document, lease, license or other agreement to which a
Grantor or any of its property is subject with any Person if, to the extent and for so long as the grant of
a lien thereon constitutes a breach of or a default under, or creates a right of termination in favor of any
party (other than such Grantor) to, such contract, instrument, document, lease, license or other agreement
(but only to the extent any such prohibition on the granting of liens is not rendered ineffective by, or is
otherwise unenforceable under, the Uniform Commercial Code or applicable law); (h) any fee interest
in real property not constituting Material Owned Real Property, (i) any assets as to which the
Administrative Agent and the Borrower have reasonably determined in writing that the cost, burden,
difficulty or consequence (including, without limitation, any effect on the ability of the Borrower and
its Subsidiaries to conduct their operations and business in the ordinary course of business) of obtaining
a security interest in such assets are excessive in relation to the benefit to the Secured Parties of the
security intended to be afforded thereby and (j) any Excluded Account; provided that any proceeds
and/or receivables arising out of any property described in the foregoing clauses (a) through (j) shall not
constitute “Excluded Assets” unless such proceeds or receivables are themselves assets described in
clauses (a) through (j) above.

                 “Federal Securities Laws” has the meaning assigned to such term in Section 5.3.




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                 “Grantors” means, collectively, the Borrower and the Guarantors.

                “Insurance” means all insurance policies covering any or all of the Collateral (regardless
of whether the Administrative Agent or any other Secured Party is the loss payee thereof) and all
business interruption insurance policies.

                 “Intellectual Property” means, collectively, with respect to a Grantor, all of such
Grantor’s rights, priorities and privileges relating to all intellectual and similar property of every kind
and nature, whether arising under United States, multinational or foreign laws or otherwise, now existing
or hereafter adopted or acquired, including, without limitation inventions, designs, Patents, Copyrights,
Trademarks, Licenses, domain names, Trade Secrets, confidential or proprietary technical and business
information, know how, show how or other data or information, software and databases and all
embodiments or fixations thereof and related documentation, registrations and franchises, and all
additions, improvements and accessions to, and books and records describing or used in connection
with, any of the foregoing, and all rights to sue at law or in equity for any infringement or other
impairment thereof, including the right to receive all proceeds and damages therefrom.

                  “Investment-Related Property” means, collectively, (a) all “investment property” as
defined in the Uniform Commercial Code including (i) all Certificated Securities and Uncertificated
Securities, (ii) all Security Entitlements, and (iii) all Securities Accounts, Commodity Contracts and
Commodity Accounts and all of the assets held therein, (b) all security entitlements, in the case of any
United States Treasury book-entry securities, as defined in 31 C.F.R. section 357.2, or, in the case of
any United States federal agency book-entry securities, as defined in the corresponding United States
federal regulations governing such book-entry securities, and (c) whether or not constituting “investment
property” as so defined, all Pledged Collateral.

                “License” means any Copyright License, Patent License, Trademark License, Trade
Secret License or other license (other than any Authorization) or sublicense to which any Grantor is a
party.

                  “LLC Interests” means the membership interests and other interests in any limited
liability company and the certificates, if any, representing such limited liability company interests and
any interest of the owner thereof in the books and records of such limited liability company and any
Securities Entitlements relating thereto and all dividends, distributions, cash, warrants, rights, options,
instruments, securities and other property or proceeds from time to time received, receivable or
otherwise distributed in respect of or in exchange for any or all of such limited liability company interests
and any other warrant, right or option or other agreement to acquire any of the foregoing, all management
rights, all voting rights, any interest in any capital account of a member in such limited liability company,
all rights as and to become a member of the limited liability company, all rights of the holder thereof
under any shareholder or voting trust agreement or similar agreement in respect of such limited liability
company, all of the holder’s right, title and interest as a member to any and all assets or properties of
such limited liability company, and all other rights, powers, privileges, interests, claims and other
property in any manner arising out of or relating to any of the foregoing.

                   “Partnership Interests” shall mean all partnership interests and other interests in any
general partnership, limited partnership, limited liability partnership or other partnership and the
certificates, if any, representing such partnership interests, and any interest of the holder thereof in the
books and records of such partnership and all dividends, distributions, cash, warrants, rights, options,
instruments, securities and other property or proceeds from time to time received, receivable or
otherwise distributed in respect of or in exchange for any or all of such partnership interests and any



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other warrant, right or option to acquire any of the foregoing, all management rights, all voting rights,
any interest in any capital account of a partner in such partnership, all rights as and to become a partner
of such partnership, all of the holder’s right, title and interest as a partner to any and all assets or
properties of such partnership, and all other rights, powers, privileges, interests, claims and other
property in any manner arising out of or relating to any of the foregoing.

                 “Patent License” means any written agreement, now or hereafter in effect, granting to
any third party any right to make, use or sell any invention covered in whole or in part by a Patent, now
or hereafter owned or held by or on behalf of any Grantor or which any Grantor otherwise has the right
to license, or granting to any Grantor any right to make, use or sell any invention on which a Patent,
now or hereafter owned by any third party, and all rights of any Grantor under any such agreement,
including each agreement described on Annex 5.

                  “Patent Security Agreement” means a security agreement with respect to Patents,
substantially in the form of Exhibit B.

                 “Patents” means all of the following: (a) all letters patent of the United States of
America or any other country, all registrations and recordings thereof and all applications for letters
patent of the United States of America or any other country, including registrations, recordings and
pending applications in the United States Patent and Trademark Office or any similar offices in the
United States of America or any other country, including those described on Annex 5, (b) all inventions
and improvements described and claimed therein, including the right to make, use and/or sell the
inventions disclosed or claimed therein, (c) all reissues, continuations, divisions, continuations in part,
renewals or extensions thereof and amendments thereto, and the inventions disclosed or claimed therein,
and (d) all income, fees, royalties, damages, claims and payments now or hereafter due and/or payable
thereunder and with respect thereto.

                “Pledged Collateral” means, collectively, the Pledged Debt, Pledged Debt Securities
and the Pledged Equity Interests.

                 “Pledged Debt” means all debt now or hereafter owed or owing to any Grantor,
including all such debt described on Part C of Schedule 3.4, and all interest, cash, instruments and other
property or proceeds from time to time received, receivable or otherwise distributed in respect of or in
exchange for any or all of such debt.

                 “Pledged Debt Securities” means all Securities or Instruments (including promissory
notes) evidencing Pledged Debt and held by any Grantor, whether now owned or hereafter acquired,
including all such Securities and Instruments described on Part C of Schedule 3.4.

                  “Pledged Equity Interests” means all Equity Interests, including all LLC Interests and
Partnership Interests, now owned or hereafter acquired by any Grantor in (a) each Subsidiary (except to
the extent that such Equity Interests constitute Excluded Assets), (b) each other Person unless in the case
of this clause (b) such Equity Interests are held in a Securities Account or constitute Margin Stock; in
each case whether now owned or hereafter created or acquired, together with all Security Certificates
and other certificates evidencing such Equity Interests, including (i) in the case of certificated Equity
Interests constituting Securities, the Equity Interests listed in Part A of Schedule 3.4 and (ii) in the case
of Equity Interests constituting Pledged LLC Interests and Pledged Partnership Interests, the Equity
Interests listed in Part B of Schedule 3.4.




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                 “Pledged Securities” means the Pledged Debt Securities, any other promissory notes,
instruments, Security Certificates, unit certificates, certificates evidencing LLC Interests or Partnership
Interests and other Certificated Securities now or hereafter included in the Pledged Collateral
representing or evidencing any Pledged Collateral, in each case excluding any Excluded Assets.

                 “Receivables” means all rights to payment, whether or not earned by performance, for
goods or other property sold, leased, licensed, assigned or otherwise disposed of, or services rendered
or to be rendered, including all such rights constituting or evidenced by any Account, Chattel Paper,
Instrument or other document, General Intangible or Investment-Related Property, together with all of
the applicable Grantor’s rights, if any, in any goods or other property giving rise to such right to payment,
and all Collateral Support and Supporting Obligations relating thereto and all Receivables Records.

                “Receivables Records” means (a) all originals of all documents, instruments or other
writings or electronic records or other Records evidencing any Receivable, (b) all books,
correspondence, credit or other files, Records, ledger sheets or cards, invoices, and other papers relating
to any Receivable, including all tapes, cards, computer tapes, computer discs, computer runs, record
keeping systems and other papers and documents relating to any Receivable, whether in the possession
or under the control of the applicable Grantor or any computer bureau or agent from time to time acting
for such Grantor or otherwise, (c) all evidences of the filing of financing statements and the registration
of other instruments in connection therewith, and amendments, supplements or other modifications
thereto, notices to other creditors or secured parties, and certificates, acknowledgments, or other
writings, including lien search reports, from filing or other registration officers, (d) all credit
information, reports and memoranda relating thereto, and (e) all other written forms of information
related in any way to the foregoing or any Receivable.

                “Securities Accounts” means, collectively, with respect to a Grantor, (a) each
“securities account” (as defined in the Uniform Commercial Code) maintained by such Grantor and all
accounts and sub-accounts relating to any of the foregoing accounts including all such accounts
described on Annex 3 and (b) all cash, funds, checks, notes, Security Entitlements and instruments from
time to time held in or credited to in any of the accounts or sub-accounts described in clause (a) of this
definition.

                 “Security Interest” has the meaning assigned to such term in Section 2.1.

                 “Supporting Obligations” means (a) all “supporting obligations” as defined in Article 9
of the Uniform Commercial Code and (b) all Guarantees and other secondary obligations supporting
any of the Collateral, in each case regardless of whether characterized as a “supporting obligation” under
the Uniform Commercial Code.

                 “Trade Secrets” means all trade secrets and all other confidential or proprietary
information and know-how now or hereafter owned or used in, or contemplated at any time for use in,
the business of any Grantor, whether or not such Trade Secret has been reduced to a writing or other
tangible form, including all documents and things embodying, incorporating or referring in any way to
such Trade Secret, the right to sue for any past, present and future infringement of any Trade Secret, and
all proceeds of the foregoing, including licenses, royalties, income, payments, claims, damages and
proceeds of suit.

                “Trade Secret License” means any written agreement, now or hereafter in effect,
granting to any third party any right to use any Trade Secret now or hereafter owned or held by or on
behalf of any Grantor or which such Grantor otherwise has the right to license, or granting to any Grantor



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any right to use any Trade Secret now or hereafter owned by any third party, and all rights of any Grantor
under any such agreement.

                 “Trademark License” means any written agreement, now or hereafter in effect, granting
to any third party any right to use any Trademark now or hereafter owned or held by or on behalf of any
Grantor or which such Grantor otherwise has the right to license, or granting to any Grantor any right to
use any Trademark now or hereafter owned by any third party, and all rights of any Grantor under any
such agreement, including each agreement described on Annex 6.

               “Trademark Security Agreement” means a security agreement with respect to
Trademarks, substantially in the form of Exhibit C.

                  “Trademarks” means all of the following: (a) all trademarks, service marks, trade
names, corporate names, company names, business names, fictitious business names, trade styles, trade
dress, logos, other source or business identifiers, prints and labels on which any of the foregoing have
appeared or appear, uniform resource locations (URLs), domain names, designs and general intangibles
of like nature, now existing or hereafter adopted or acquired, (b) all registrations and recordings thereof
and all registration and recording applications filed in connection therewith, including registrations and
registration applications in the United States Patent and Trademark Office or any similar offices in the
United States of America or any other country, and all common-law rights related thereto, including
those described on Annex 6, and (c) all reissues, continuations, extensions and renewals thereof and
amendments thereto, (d) all goodwill associated therewith or symbolized by any of the foregoing, (e) all
income, fees, royalties, damages and payments now and hereafter due and/or payable thereunder and
with respect thereto and (f) all other assets, rights and interests that uniquely reflect or embody such
goodwill.

                 “Uniform Commercial Code” or “UCC” shall mean the Uniform Commercial Code as
in effect from time to time in the State of Texas; provided, however, that, at any time, if by reason of
mandatory provisions of law, any or all of the perfection or priority of the Administrative Agent’s and
the Secured Parties’ security interest in any item or portion of the Collateral is governed by the Uniform
Commercial Code as in effect in a jurisdiction other than the State of Texas, the terms “Uniform
Commercial Code” and “Uniform Commercial Code” shall mean the Uniform Commercial Code as in
effect, at such time, in such other jurisdiction for purposes of the provisions hereof relating to such
perfection or priority and for purposes of definitions relating to such provisions.

                Section 1.4       Incorporation By Reference: Security Agreement. The provisions of
Sections 1.3 and 1.7 of the Credit Agreement are incorporated herein by this reference mutatis mutandis.
This Pledge and Security Agreement is the “Security Agreement” under, and as such term is defined in,
the Credit Agreement.

                                                 ARTICLE 2

                                          SECURITY INTEREST

                   Section 2.1     Grant of Security Interest. As security for the payment or performance,
as applicable, in full when due (whether at the stated maturity, by acceleration or otherwise) of the
Secured Obligations, each Grantor hereby grants to the Administrative Agent and its permitted
successors and assigns, for the ratable benefit of the Secured Parties, a security interest (the “Security
Interest”) in all such Grantor’s right, title and interest in, to and under any and all of the following assets,
whether now owned or hereafter acquired and wheresoever located (collectively, the “Collateral”):



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              (a)      all Accounts, including all Receivables and Receivable Records;

              (b)      all Chattel Paper (whether tangible or electronic),

              (c)      all Commercial Tort Claims (including those listed on Annex 2),

              (d)      all cash and cash equivalents,

              (e)      all Deposit Accounts,

              (f)      all Documents,

              (g)      all Equipment,

              (h)      all Fixtures,

              (i)      all General Intangibles,

              (j)      all Goods,

              (k)      all Instruments, including the Pledged Debt and Pledged Debt Securities,

              (l)      all Insurance,

              (m)      all Intellectual Property,

              (n)      all Inventory,

             (o)     all Investment-Related Property and all Securities Accounts and Commodities
      Accounts and all assets held therein, including the Pledged Equity Interests,

              (p)      all letters of credit and Letter-of-Credit Rights,

              (q)     all Proceeds of Authorizations and, to the extent not constituting Excluded
      Assets, all Authorizations and the goodwill associated with all Authorizations,

              (r)      all other personal property of such Grantor, whether tangible or intangible,

               (s)     to the extent not otherwise included in clauses (a) through (r) of this Section,
      all Collateral Records, Collateral Support and Supporting Obligations in respect of any of the
      foregoing,

               (t)     to the extent not otherwise included in clauses (a) through (s) of this Section,
      all other property in which a security interest may be granted under the Uniform Commercial
      Code or which may be delivered to and held by the Administrative Agent pursuant to the terms
      hereof, and

              (u)      to the extent not otherwise included in clauses (a) through (t) of this Section,
      all Proceeds, products, substitutions, accessions, rents and profits of or in respect of any of the
      foregoing, whether cash or non-cash, immediate or remote, and any indemnities, warranties and
      guaranties payable by reason of loss or damage to or otherwise with respect to any of the



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        foregoing and including, subject to Section 3.4(c), all payments of principal or interest,
        dividends, cash, instruments and other property from time to time received, receivable or
        otherwise distributed in respect of, in exchange for or upon the conversion of, the Pledged
        Collateral;

provided that none of the Collateral shall include, and in no event shall the Security Interest attach to,
any asset to the extent and for so long as such asset is an Excluded Asset (it being understood that the
Security Interest shall immediately attach to, and the Collateral shall immediately include, any such
asset (or any portion thereof) upon such asset (or such portion thereof) ceasing to be an Excluded Asset);
provided, further, that Proceeds, substitutions or replacements of Excluded Assets shall not be subject
to the preceding proviso unless such Proceeds, substitutions or replacements would themselves
constitute Excluded Assets.

                 Section 2.2      Revisions to Uniform Commercial Code. For the avoidance of doubt,
it is expressly understood and agreed that, to the extent the Uniform Commercial Code is revised after
the date hereof such that the definition of any of the foregoing terms included in the description or
definition of the Collateral is changed, the parties hereto desire that any property which is included in
such changed definitions, but which would not otherwise be included in the Security Interest on the date
hereof, nevertheless be included in the Security Interest upon the effective date of such revision.
Notwithstanding the immediately preceding sentence, the Security Interest is intended to apply
immediately on the Agreement Date to all of the Collateral to the fullest extent permitted by applicable
law, regardless of whether any particular item of the Collateral was then subject to the Uniform
Commercial Code.

                  Section 2.3       Security for Secured Obligations. This Agreement secures, and the
Collateral is collateral security for, the prompt and complete payment or performance in full when due,
whether at stated maturity, by required prepayment, declaration, acceleration, demand or otherwise
(including the payment of amounts that would become due but for the operation of the automatic stay
under Section 362(a) of Title 11 of the United States Code, or any similar provision of any other
bankruptcy, insolvency, receivership or other similar law), of all Secured Obligations.

                 Section 2.4       No Assumption of Liability. Notwithstanding anything to the contrary
herein, the Security Interest is granted as security only and shall not subject the Administrative Agent
or any other Secured Party to, or in any way alter or modify, any obligation or liability of any Grantor
with respect to or arising out of the Collateral.

                                              ARTICLE 3

                    REPRESENTATIONS, WARRANTIES AND COVENANTS

                Section 3.1      Generally.

               (a)      Representations and Warranties. Each of the Grantors, jointly with the other
        Grantors and severally, represents and warrants to the Administrative Agent and the other
        Secured Parties that:

                      (i)      All representations and warranties relating to it contained in the Credit
                Agreement are true and correct.




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                      (ii)     The information set forth in each Annex (including (A) the exact legal
            name of each Grantor and (B) the jurisdiction of organization of each Grantor) is correct
            and complete in all material respects as of the relevant Applicable Date. Uniform
            Commercial Code financing statements (including fixture filings, as applicable) or other
            appropriate filings, recordings or registrations containing a description of the Collateral
            have been prepared by the Administrative Agent based upon the information provided
            to the Administrative Agent and the Secured Parties in each Annex for filing in the
            Applicable Filing Offices, which are all the filings, recordings and registrations (other
            than filings required to be made in the United States Patent and Trademark Office and
            the United States Copyright Office in order to perfect the Security Interest in the
            Intellectual Property) that are necessary to publish notice of and protect the validity of
            and to establish a legal, valid and perfected security interest in favor of the
            Administrative Agent (for the ratable benefit of the Secured Parties) in respect of all
            Collateral in which the Security Interest may be perfected by filing, recording or
            registration in the United States (or any state, commonwealth or other political
            subdivision thereof) and its territories and possessions, and no further or subsequent
            filing, refiling, recording, re-recording, registration or reregistration is necessary in any
            such jurisdiction, except as provided under applicable law with respect to the filing of
            Uniform Commercial Code continuation statements.

                      (iii)    Each Grantor has good and valid rights in or title to, the Collateral with
            respect to which it has purported to grant the Security Interest, except for minor defects
            in title that do not interfere with its ability to conduct its business as currently conducted
            or to utilize such Collateral for its intended purposes, and except for Liens expressly
            permitted pursuant to the Loan Documents. Such Grantor has not filed or consented to
            the filing of (A) any financing statement or analogous document under the Uniform
            Commercial Code or any other applicable laws covering any such Collateral, (B) any
            assignment in which it assigns any such Collateral or any security agreement or similar
            instrument covering any such Collateral with the United States Patent and Trademark
            Office or the United States Copyright Office, or any similar offices in the United States
            of America or any other country, or (C) any assignment in which it assigns any such
            Collateral or any security agreement or similar instrument covering any such Collateral
            with any foreign governmental, municipal or other office, in each case which financing
            statement, analogous document, assignment or other instrument, as applicable, is still
            in effect, except for Liens expressly permitted by Section 7.2 of the Credit Agreement.

                     (iv)    The Collateral is owned by the Grantors free and clear of any Lien,
            except for Liens expressly permitted pursuant to Section 7.2 of the Credit Agreement.
            No Grantor has filed or consented to the filing of (i) any financing statement or
            analogous document under the Uniform Commercial Code or any other applicable laws
            covering any Collateral (except for financing statements or analogous documents filed
            for precautionary reasons relating to operating leases, consignments and other similar
            items, in each case (x) in the ordinary course of business, and (y) as permitted under the
            Credit Agreement), (ii) any assignment in which any Grantor assigns any Collateral or
            any security agreement or similar instrument covering any Collateral with the United
            States Patent and Trademark Office or the United States Copyright Office, (iii) any
            notice under the Assignment of Claims Act, or (iv) any assignment in which any
            Grantor assigns any Collateral or any security agreement or similar instrument covering
            any Collateral with any foreign governmental, municipal or other office, which
            financing statement or analogous document, assignment, security agreement or similar



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              instrument is still in effect, except, in each case, for Liens expressly permitted pursuant
              to Section 7.2 of the Credit Agreement

                       (v)      All contracts, instruments, documents, leases, licenses or other
              agreements that are excluded from the Collateral by virtue of clauses (a), (b) and (g) of
              the definition of Excluded Assets are not material to the business of Loan Parties, taken
              as a whole.

              (b)     Covenants and Agreements. Each Grantor hereby covenants and agrees as
      follows:

                       (i)     It shall maintain, at its own cost and expense, such complete and
              accurate Records with respect to the Collateral owned or held by it or on its behalf as is
              consistent with its current practices and in accordance with such prudent and standard
              practices used in industries that are the same as or similar to those in which it is engaged,
              but in any event to include complete accounting Records indicating all payments and
              proceeds received with respect to any part of such Collateral, and, at such time or times
              as the Administrative Agent may reasonably request, promptly to prepare and deliver
              to the Administrative Agent a duly certified schedule or schedules in form and detail
              satisfactory to the Administrative Agent showing the identity and amount of any and
              all such Collateral.

                      (ii)      It shall, at its own cost and expense, take any and all actions necessary
              to defend title to the Collateral owned or rights in Collateral held by it or on its behalf
              against all Persons and to defend the Security Interest in such Collateral and the priority
              thereof against any Lien or other interest not expressly permitted by the Loan
              Documents, and in furtherance thereof, it shall not take, or permit to be taken, any action
              not otherwise expressly permitted by the Loan Documents that could impair the
              Security Interest or the priority thereof or any Secured Party’s rights in or to such
              Collateral.

                       (iii)    During normal business hours and upon prior written notice to Grantor,
              the Administrative Agent and such Persons as the Administrative Agent may designate
              shall, as often as reasonably requested, have the right, at the cost and expense of such
              Grantor, to inspect all of its Records (and to make extracts and copies from such
              Records), to discuss its affairs with its officers and independent accountants and to
              verify under reasonable procedures the validity, amount, quality, quantity, value,
              condition and status of, or any other matter relating to, the Collateral owned or rights in
              Collateral held by or on behalf of such Grantor, including, in the case of Receivables,
              Pledged Debt, General Intangibles, Commercial Tort Claims or Collateral in the
              possession of any third person, by contacting Account Debtors, contract parties or other
              obligors thereon or any third person possessing such Collateral for the purpose of
              making such a verification. The Administrative Agent shall have the absolute right to
              share on a confidential basis any information it gains from such inspection or
              verification with any Secured Party.

                      (iv)    At its option, the Administrative Agent may discharge past due taxes,
              assessments, charges, fees, Liens, security interests or other encumbrances at any time
              levied or placed on the Collateral owned or held by or on behalf of such Grantor, and
              not permitted by the Loan Documents, and may pay for the maintenance and



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            preservation of such Collateral to the extent such Grantor fails to do so as required by
            the Loan Documents, and such Grantor agrees, jointly with the other Grantors and
            severally, to reimburse the Administrative Agent on demand for any payment made or
            any out-of-pocket cost or reasonable expense incurred by the Administrative Agent
            pursuant to the foregoing authorization; provided, however, that nothing in this
            paragraph shall be interpreted as excusing any Grantor from the performance of, or
            imposing any obligation on the Administrative Agent or any other Secured Party to cure
            or perform, any covenants or other promises of any Grantor with respect to taxes,
            assessments, charges, fees, Liens, security interests or other encumbrances and
            maintenance as set forth herein or in the other Loan Documents.

                     (v)    It shall remain liable for the failure to observe and perform all the
            conditions and obligations to be observed and performed by it under each contract,
            agreement or instrument relating to the Collateral owned or held by it or on its behalf,
            all in accordance with the terms and conditions thereof, and it agrees, jointly with the
            other Grantors and severally, to indemnify and hold harmless the Administrative Agent
            and the other Secured Parties from and against any and all liability for such
            performance.

                      (vi)    It shall not make, or permit to be made, an assignment, pledge or
            hypothecation of the Collateral owned or held by it or on its behalf, or grant any other
            Lien in respect of such Collateral, except as expressly permitted by the Loan
            Documents. Except for Liens or transfers expressly permitted by the Loan Documents,
            it shall not make or permit to be made any transfer of such Collateral, and it shall remain
            at all times in possession of such Collateral and the direct owner, beneficially and of
            record, of the Pledged Equity Interests included in such Collateral, except that (A)
            Inventory may be sold in the ordinary course of business and (B) unless and until the
            Administrative Agent shall notify it that an Event of Default shall have occurred and be
            continuing and that, during the continuance thereof, it shall not sell, convey, lease,
            assign, transfer or otherwise dispose of any such Collateral (which notice may be given
            by telephone if promptly confirmed in writing), it may use and dispose of such
            Collateral in any lawful manner not inconsistent with the provisions of this Agreement
            or any other Loan Document.

                     (vii)    It shall, at its own cost and expense, maintain or cause to be maintained
            insurance covering physical loss or damage to the Collateral owned or held by it or on
            its behalf against all risks and liability arising from the use or intended use, or otherwise
            attributable or relating to, such Collateral, in each case in accordance with Section 6.10
            of the Credit Agreement. It shall cause each such insurance policy (A) to contain the
            provisions and endorsements set forth in Section 6.10(c) of the Credit Agreement and
            (B) provide that the Administrative Agent and other Secured Parties have no
            responsibility for premiums, warranties or representations to underwriters. On the
            Agreement Date and at least 30 days prior to expiry of each such insurance policy, such
            Grantor shall deliver or cause to be delivered to the Administrative Agent an insurance
            broker’s opinion letter from such Grantor’s independent insurance agent confirming
            that the insurance premiums with respect to the policies of insurance required to be
            maintained pursuant to this subsection have been paid, that such policies are in force
            and that such policies meet the requirements set forth in this subsection. Such Grantor
            irrevocably makes, constitutes and appoints the Administrative Agent (and all officers,
            employees or agents designated by the Administrative Agent) as such Grantor’s true



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              and lawful agent (and attorney-in-fact) for the purpose, during the continuance of an
              Event of Default, of making, settling and adjusting claims in respect of such Collateral
              under policies of insurance, endorsing the name of such Grantor on any check, draft,
              instrument or other item of payment for the proceeds of such policies of insurance and
              for making all determinations and decisions with respect thereto. In the event that such
              Grantor at any time or times shall fail to obtain or maintain any of the policies of
              insurance required hereby or to pay any premium in whole or part relating thereto, the
              Administrative Agent may, without waiving or releasing any obligation or liability of
              the Grantors hereunder or any Event of Default, in its sole discretion, obtain and
              maintain such policies of insurance and pay such premium and take any other actions
              with respect thereto as the Administrative Agent deems reasonably necessary. All sums
              disbursed by the Administrative Agent in connection with this subsection, including
              reasonable attorneys’ fees and disbursements, court costs, out-of-pocket expenses and
              other costs relating thereto, shall be payable, upon demand, by such Grantor to the
              Administrative Agent and shall be additional Secured Obligations secured hereby.

                       (viii) It will not (A) maintain its place of business (if it has only one) or its
              chief executive office (if it has more than one place of business) at a location other than
              a location specified in Annex 1, (B) change its jurisdiction of incorporation or
              organization or otherwise reincorporate or reorganize itself under the laws of any
              jurisdiction other than the jurisdiction in which it is incorporated or organized as
              specified in Annex 1 or (C) change its name, identity, corporate structure,
              organizational identification number or taxpayer identification number, unless in each
              such case the Borrower shall have given the Administrative Agent not less than 30 days’
              prior written notice of such event or occurrence and the Administrative Agent shall have
              either (x) confirmed to the Borrower and/or such Grantor its determination that such
              event or occurrence will not adversely affect the validity, perfection or priority of the
              Administrative Agent’s security interest in the Collateral, or (y) taken such steps (with
              the cooperation of the Borrower to the extent necessary or advisable) as are necessary
              or advisable to properly maintain the validity, perfection and priority of the
              Administrative Agent’s security interest in the Collateral.

                      (ix)     Each Grantor will use commercially reasonable efforts to obtain the
              consent of the counterparty to each contract, instrument, document, lease, license or
              other agreement that is excluded from the Collateral by virtue of clauses (b) and (c) of
              the definition of Excluded Assets to the Security Interest granted hereunder.

              Section 3.2      Equipment and Inventory.

               (a)     Representations and Warranties. Each of the Grantors, jointly with the other
      Grantors and severally, represents and warrants to the Administrative Agent and the other
      Secured Parties that, as of the Applicable Date, all of the Equipment and Inventory included in
      the Collateral owned or held by it or on its behalf (other than mobile goods, Inventory and
      Equipment in transit and other Collateral in which possession is not maintained in the ordinary
      course of its business) is kept only at the locations specified in Annex 1, which sets forth with
      respect to each Grantor, Equipment and Inventory (i) maintained at the premises owned by any
      Grantor, (ii) maintained at leased premises, (iii) in the possession of a warehouseman or other
      bailee and (iv) on consignment.

              (b)     Covenants and Agreements.



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                       (i)     Each Grantor covenants and agrees that it shall not permit any
              Equipment or Inventory that is for any Approved Project owned or held by it or on its
              behalf to be in the possession or control of any warehouseman, bailee, agent or
              processor for a period of greater than thirty (30) consecutive days, unless (i) the
              Administrative Agent gives prior written consent and (ii) such warehouseman, bailee,
              agent or processor shall have been notified of the Security Interest and, at the request
              of the Administrative Agent, shall have entered into a Collateral Access Agreement;
              provided that with respect to Equipment or Inventory that is for any Approved Project
              as of the Closing Date, each Grantor covenants and agrees that it shall use commercially
              reasonable efforts to deliver a Collateral Access Agreement within 120 days after the
              Closing Date or such longer period as approved by Administrative Agent in writing.

                      (ii)     Each Grantor covenants and agrees that it shall, at the request of the
              Administrative Agent, use commercially reasonable efforts to deliver a Collateral
              Access Agreement with respect to any leased property at which such Credit Party
              maintains its headquarters or any Collateral that is for any Approved Project; provided
              that with respect to any such Collateral that is for any Approved Project and located at
              any leased property as of the Closing Date, each Grantor covenants and agrees that it
              shall use commercially reasonable efforts to deliver a Collateral Access Agreement
              within 120 days after the Closing Date or such longer period approved by
              Administrative Agent in writing.

              Section 3.3      Receivables.

              (a)      Representations and Warranties. Each of the Grantors, jointly with the other
      Grantors and severally, represents and warrants to the Administrative Agent and the other
      Secured Parties that no Receivable included in the Collateral owned or held by it or on its behalf
      is evidenced by an Instrument or Chattel Paper that has not been delivered to the Administrative
      Agent.

              (b)     Covenants and Agreements. Each Grantor hereby covenants and agrees that:

                       (i)     It shall mark in its books and records, in form and manner reasonably
              satisfactory to the Administrative Agent, all Chattel Paper, Instruments and other
              evidence of any Receivables included in the Collateral owned or held by it or on its
              behalf (other than any delivered to the Administrative Agent as provided herein), as
              well as the related Receivables Records, with an appropriate reference to the fact that
              the Administrative Agent has a security interest therein.

                      (ii)     It will not, without the Administrative Agent’s prior written consent
              (which, so long as no Default has occurred and is continuing, consent shall not be
              unreasonably withheld), grant any extension of the time of payment of any such
              Receivable, compromise, compound or settle the same for less than the full amount
              thereof, release, wholly or partly, any Supporting Obligation or Collateral Support
              relating thereto, or allow any credit or discount whatsoever thereon, other than
              extensions, credits, discounts, releases, compromises or settlements granted or made in
              the ordinary course of business and consistent with its current practices or in accordance
              with such practices reasonably believed by such Grantor to be prudent.




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                       (iii)  Except as otherwise provided in this Section, it shall continue to collect
             all amounts due or to become due to it under all such Receivables and any Supporting
             Obligations or Collateral Support relating thereto, and diligently exercise each material
             right it may have thereunder, in each case at its own cost and expense, and in connection
             with such collections and exercise, it shall, upon the occurrence and during the
             continuance of an Event of Default, take such action as it or the Administrative Agent
             may reasonably deem necessary. Notwithstanding the foregoing, the Administrative
             Agent shall have the right at any time after the occurrence and during the continuance
             of an Event of Default to notify, or require such Grantor to notify, any Account Debtor
             with respect to any such Receivable, Supporting Obligation or Collateral Support of the
             Administrative Agent’s security interest therein, and in addition, at any time during the
             continuation of an Event of Default, the Administrative Agent may: (A) direct such
             Account Debtor to make payment of all amounts due or to become due to such Grantor
             thereunder directly to the Administrative Agent and (B) enforce, at the cost and expense
             of such Grantor, collection thereof and to adjust, settle or compromise the amount or
             payment thereof, in the same manner and to the same extent as such Grantor would be
             able to have done. If the Administrative Agent notifies such Grantor that it has elected
             to collect any such Receivable, Supporting Obligation or Collateral Support in
             accordance with the preceding sentence, any payments thereof received by such Grantor
             shall not be commingled with any of its other funds or property but shall be held
             separate and apart therefrom, shall be held in trust for the benefit of the Administrative
             Agent hereunder and shall be forthwith delivered to the Administrative Agent in the
             same form as so received (with any necessary indorsement), and such Grantor shall not
             grant any extension of the time of payment thereof, compromise, compound or settle
             the same for less than the full amount thereof, release the same, wholly or partly, or
             allow any credit or discount whatsoever thereon.

                     (iv)    It shall use its best efforts to keep in full force and effect any Supporting
             Obligation or Collateral Support relating to any Receivable.

                    (v)      During the continuance of a Default, at the request of the
             Administrative Agent, it shall direct each Account Debtor to make payment on each
             Receivable to a Controlled Account.

             Section 3.4      Investment-Related Property.

             (a)      Representations and Warranties. Each of the Grantors, jointly with the other
      Grantors and severally, represents and warrants to the Administrative Agent and the other
      Secured Parties that:

                      (i)     Schedule 3.4 sets forth, as of the Applicable Date, all of the Pledged
             Collateral. Part A of Schedule 3.4 correctly sets forth the percentage of the issued and
             outstanding shares of each class of the Equity Interests of the issuer thereof represented
             by the Pledged Equity Interests and includes all Pledged Equity Interests required to be
             pledged hereunder. Part B of Schedule 3.4 also correctly sets forth with respect to each
             LLC Interest and Partnership Interest whether such interest is a Security. Part C of
             Schedule 3.4 correctly sets forth Pledged Debt and includes all Pledged Debt required
             to be pledged hereunder.




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                      (ii)     The Pledged Equity Interests and the Pledged Debt Securities have
              been duly and validly authorized and issued by the issuers thereof and (A) in the case
              of Pledged Equity Interests, are fully paid and nonassessable (to the extent such
              concepts are applicable) and (B) in the case of Pledged Debt Securities, are legal, valid
              and binding obligations of the issuers thereof, except to the extent that enforceability of
              such obligations may be limited by applicable bankruptcy, insolvency, and other similar
              laws affecting creditor’s rights generally.

                       (iii)    (A) None of the Pledged Collateral owned by it has been issued or
              transferred in violation of the securities registration, securities disclosure or similar laws
              of any jurisdiction to which such issuance or transfer may be subject, (B) except as set
              forth on Schedule 3.4, there are existing no options, warrants, calls or commitments of
              any character whatsoever relating to such Pledged Collateral or which obligate the
              issuer of any Equity Interest included in the Pledged Collateral to issue additional
              Equity Interests, and (C) no consent, approval, authorization, or other action by, and no
              giving of notice to or filing with, any governmental authority or any other Person is
              required for the pledge by such Grantor of such Pledged Collateral pursuant to this
              Agreement or for the execution, delivery and performance of this Agreement by such
              Grantor, or for the exercise by the Administrative Agent of the voting or other rights
              provided for in this Agreement or for the remedies in respect of the Pledged Collateral
              pursuant to this Agreement, except as may be required in connection with such
              disposition by laws affecting the offering and sale of securities generally.

                     (iv)    No Person other than the Administrative Agent has Control over any
              Investment-Related Property of such Grantor.

                (b)     Registration in Nominee Name; Denominations. Each Grantor hereby agrees
      that (i) without limiting Section 6.3, the Administrative Agent, on behalf of the Secured Parties,
      shall have the right (in its sole and absolute discretion) to hold, where applicable,
      Investment-Related Property included in the Collateral owned or held by it or on its behalf in
      the Administrative Agent’s own name as pledgee, the name of its nominee (as pledgee or as
      sub-agent) or the name of the applicable Grantor, endorsed or assigned, where applicable, in
      blank or in favor of the Administrative Agent, (ii) at the Administrative Agent’s request, such
      Grantor will promptly give to the Administrative Agent copies of any material notices or other
      written communications received by it with respect to any Investment-Related Property
      included in the Collateral owned or held by it or on its behalf registered in its name and (iii) the
      Administrative Agent shall at all times have the right to exchange any certificates, instruments
      or other documents representing or evidencing any Investment-Related Property included in the
      Collateral owned or held by or on behalf of such Grantor for certificates, instruments or other
      documents of smaller or larger denominations for any purpose consistent with this Agreement.

              (c)      Voting and Distributions.

                      (i)      Unless and until an Event of Default shall have occurred and be
              continuing:

                               (A)     Each Grantor shall be entitled to exercise any and all voting
      and/or other consensual rights and powers inuring to an owner of the Investment-Related
      Property included in the Collateral owned or held by it or on its behalf, or any part thereof, for
      any purpose consistent with the terms of this Agreement and the other Loan Documents;



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      provided, however, that such Grantor will not be entitled to exercise any such right if the result
      thereof could materially and adversely affect the rights inuring to a holder of the
      Investment-Related Property or the rights and remedies of any of the Secured Parties under this
      Agreement or any other Loan Document or the ability of any of the Secured Parties to exercise
      the same.

                                (B)     The Administrative Agent shall execute and deliver to each
      Grantor, or cause to be executed and delivered to each Grantor, all such proxies, powers of
      attorney and other instruments as such Grantor may reasonably request for the purpose of
      enabling it to exercise the voting and/or consensual rights and powers it is entitled to exercise
      pursuant to subsection (c)(i)(A) and to receive the cash payments it is entitled to receive
      pursuant to subsection (c)(i)(C).

                                (C)     Each Grantor shall be entitled to receive, retain and use any
      and all cash dividends, interest and principal paid on the Investment-Related Property included
      in the Collateral owned or held by it or on its behalf to the extent and only to the extent that
      such cash dividends, interest and principal are not prohibited by, and not otherwise paid in a
      manner that violates the terms and conditions of the Credit Agreement, the other Loan
      Documents and applicable laws. All non-cash dividends, interest and principal, and all
      dividends, interest and principal paid or payable in cash or otherwise in connection with a partial
      or total liquidation or dissolution, return of capital, capital surplus or paid in surplus, and all
      other distributions (other than distributions referred to in the preceding sentence) made on or in
      respect of the Investment-Related Property included in the Collateral owned or held by it or on
      its behalf, whether paid or payable in cash or otherwise, whether resulting from a subdivision,
      combination or reclassification of the outstanding Equity Interests in any issuer or received in
      exchange for any Investment-Related Property, or any part thereof, or in redemption thereof, or
      as a result of any merger, consolidation, acquisition or other exchange of assets to which such
      issuer may be a party or otherwise, shall be and become part of the Collateral, and, if received
      by such Grantor, shall not be commingled with any of its other funds or property but shall be
      held separate and apart therefrom, shall be held in trust for the benefit of the Administrative
      Agent hereunder and shall be forthwith delivered to the Administrative Agent in the same form
      as so received (with any necessary endorsement).

                      (ii)    Without limiting the generality of the foregoing, upon the occurrence
              and during the continuance of an Event of Default:

                                (A)     all rights of each Grantor to dividends, interest or principal that
      it is authorized to receive pursuant to subsection (c)(i)(C) shall cease, and all such rights shall
      thereupon become vested in the Administrative Agent, which shall have the sole and exclusive
      right and authority to receive and retain such dividends, interest or principal, as applicable. All
      dividends, interest and principal received by or on behalf of any Grantor contrary to the
      provisions of this Section shall be held in trust for the benefit of the Administrative Agent, shall
      be segregated from other property or funds of such Grantor and shall be forthwith delivered to
      the Administrative Agent upon demand in the same form as so received (with any necessary
      endorsement). Any and all money and other property paid over to or received by the
      Administrative Agent pursuant to the provisions of this subsection (c)(ii)(A) shall be retained
      by the Administrative Agent in an account to be established in the name of the Administrative
      Agent, for the ratable benefit of the Secured Parties, upon receipt of such money or other
      property and shall be applied in accordance with the provisions of Section 5.2. Subject to the
      provisions of this subsection (c)(ii)(A), such account shall at all times be under the sole



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      dominion and control of the Administrative Agent, and the Administrative Agent shall at all
      times have the sole right to make withdrawals therefrom and to exercise all rights with respect
      to the funds and other property from time to time therein or credited thereto as set forth in the
      Loan Documents. After all Events of Default have been cured or waived, the Administrative
      Agent shall, promptly after all Events of Default have been cured or waived, repay to the
      applicable Grantor all cash dividends, interest and principal (without interest) that such Grantor
      would otherwise be permitted to retain pursuant to the terms of subsection (c)(i)(C) and which
      remain in such account.

                               (B)       all rights of each Grantor to exercise the voting and consensual
      rights and powers it is entitled to exercise pursuant to subsection (c)(i)(A), and the obligations
      of the Administrative Agent under subsection (c)(i)(B), shall cease, and all such rights shall
      thereupon become vested in the Administrative Agent, which shall have the sole and exclusive
      right and authority to exercise such voting and consensual rights and powers, provided that,
      unless otherwise directed by the Required Lenders, the Administrative Agent shall have the
      right from time to time following and during the continuance of an Event of Default to permit
      such Grantor to exercise such rights. After all Events of Default have been cured or waived, the
      applicable Grantor will have the right to exercise the voting and consensual rights and powers
      that it would otherwise be entitled to exercise pursuant to the terms of subsection (c)(i)(A).

              (d)      Covenants and Agreements. Each Grantor hereby covenants and agrees as
      follows:

                       (i)    Each Grantor agrees to deliver or cause to be delivered to the
              Administrative Agent any and all Pledged Securities (A) in the case of any such Pledged
              Securities owned by such Grantor on the Closing Date, on the Closing Date, and (B) in
              the case of Pledged Securities acquired by such Grantor after the Closing Date,
              promptly and in any event within 14 days after the acquisition thereof by such Grantor
              (or such longer period agreed to by the Administrative Agent in its reasonable
              discretion).

                      (ii)     (A) Except with respect to intercompany Indebtedness which the
              Grantors acknowledge and agree is subordinate to the Loan Document Obligations, if
              any Indebtedness for borrowed money in a principal amount in excess of $200,000
              (individually) is owing to any Grantor and such Indebtedness is evidenced by a
              promissory note, such Grantor shall deliver to the Administrative Agent such
              promissory note, together with undated instruments of transfer with respect thereto
              endorsed in blank.

                      (iii)   Upon delivery to the Administrative Agent, (A) any certificate,
              instrument or document representing or evidencing Pledged Securities shall be
              accompanied by undated stock or note powers duly executed in blank or other undated
              instruments of transfer satisfactory to the Administrative Agent and duly executed in
              blank and by such other instruments and documents as the Administrative Agent may
              reasonably request and (B) all other property comprising part of the Pledged Collateral
              shall be accompanied by proper instruments of assignment duly executed by the
              applicable Grantor and such other instruments or documents as the Administrative
              Agent may reasonably request. Each delivery of Pledged Securities shall be
              accompanied by a schedule describing the Pledged Securities, which schedule shall be
              attached hereto as Part A, B or C, as applicable, of Schedule 3.4; provided that failure



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              to attach any such schedule hereto shall not affect the validity of the pledge of such
              Pledged Securities. Each schedule so delivered shall supplement any prior schedules
              so delivered.

                     (iv)     Except for Excluded Accounts, no Grantor shall establish or maintain,
              or permit any other Grantor to establish or maintain, any Deposit Account, Securities
              Account or Commodities Account that is not subject to the Control of the
              Administrative Agent.

                       (v)     Except for restrictions and limitations imposed by the Loan Documents
              or securities laws generally, the Pledged Collateral is and will continue to be freely
              transferable and assignable, and none of the Pledged Collateral is or will be subject to
              any option, right of first refusal, shareholders agreement, charter or by-law provisions
              or contractual restriction of any nature that might prohibit, impair, delay or otherwise
              affect the pledge of such Pledged Collateral hereunder, the sale or disposition thereof
              pursuant hereto or the exercise by the Administrative Agent of rights and remedies
              hereunder.

                      (vi)     Each Grantor pledging Uncertificated Securities shall deliver to the
              Administrative Agent an agreement among the issuer thereof, the Administrative Agent
              and such Grantor, in form and substance satisfactory to the Administrative Agent,
              pursuant to which such issuer agrees to comply with any and all instructions originated
              by the Administrative Agent without further consent by such Grantor and not to comply
              with instructions regarding such Uncertificated Securities originated by any other
              person other than a court of competent jurisdiction. The Administrative Agent agrees
              with each Grantor that the Administrative Agent shall not give any such instructions or
              directions to any such issuer unless an Event of Default has occurred and is continuing.
              In addition, each Grantor hereby agrees that upon the occurrence and during the
              continuance of an Event of Default, it will comply with written instructions of the
              Administrative Agent with respect to the Equity Interests in such Grantor that constitute
              Pledged Equity Interests hereunder without further consent by the applicable owner or
              holder of such Equity Interests.

                       (vii)   In the event (A) any Grantor or any Approved Intermediary shall, after
              the date hereof, terminate an agreement with respect to the maintenance of a Securities
              Account or Commodities Account for any reason, (B) the Administrative Agent shall
              demand the termination of an agreement with respect to the maintenance of a Securities
              Account or a Commodities Account as a result of the failure of the applicable Approved
              Intermediary to comply with the terms of the applicable Control Agreement, or (C) the
              Administrative Agent determines in its sole discretion that the financial condition of an
              Approved Intermediary has materially deteriorated, such Grantor agrees to promptly
              transfer the assets held in such Securities Account or Commodities Account, as
              applicable, to another Securities Account or Commodities Account, as applicable,
              acceptable to the Administrative Agent and that is subject to the Control of the
              Administrative Agent.

              (e)       LLC Interests and Partnership Interests. Each Grantor acknowledges and
      agrees that (i) each LLC Interest or Partnership Interest pledged hereunder and represented by
      a Security Certificate shall be a Security and shall be governed by Article 8 of the Uniform
      Commercial Code and (ii) each such LLC Interest or Partnership Interest, as applicable, shall at



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        all times hereafter be represented by a Security Certificate. Each Grantor has taken or will, prior
        to the pledge of any such LLC Interest or Partnership Interest, will take, all steps necessary to
        cause the Organizational Documents of such limited liability company or partnership to provide
        that interests therein constitute a Security governed by Article 8 of the Uniform Commercial
        Code. Each Grantor further acknowledges and agrees that (A) each LLC Interest or Partnership
        Interest pledged hereunder and not represented by a Security Certificate shall not be a Security
        and shall not be governed by Article 8 of the Uniform Commercial Code, and (B) such Grantor
        shall at no time elect to treat any such interest as a Security or issue any certificate representing
        such interest, unless such Grantor provides prior written notification to the Administrative
        Agent of such election and immediately delivers any such Security Certificate to the
        Administrative Agent pursuant to the terms hereof together with appropriate undated stock
        powers or instruments of transfer executed in blank.

                Section 3.5       Letter-of-Credit Rights. Each of the Grantors, jointly with the other
Grantors and severally, represents and warrants to the Administrative Agent and the other Secured
Parties that Annex 7 sets forth, as of the Applicable Date, each letter of credit giving rise to a Letter of
Credit Right included in the Collateral owned or held by or on behalf of such Grantor.

                 Section 3.6      Intellectual Property Collateral.

                 (a)     Representations and Warranties. Each of the Grantors, jointly with the other
        Grantors and severally, represents and warrants to the Administrative Agent and the other
        Secured Parties that Annex 4, 5, and 6 sets forth, as of the Applicable Date, a list of all of the
        (i) Trademarks, Patents and Copyrights, in each case included in the Collateral owned by or on
        behalf of such Grantor and with respect to which a registration, recording or pending application
        has been made in the United States Patent and Trademark Office or the United States Copyright
        Office, as applicable, or any similar offices in the United States of America or any other country,
        and (ii) Trademark Licenses, Patent Licenses, Copyright Licenses and Trade Secret Licenses
        and domain names, in each case included in the Collateral owned or held by or on behalf of such
        Grantor.

                (b)      Covenants and Agreements. Each Grantor hereby covenants and agrees as
        follows:

                           (i)      It will not, nor will it permit any of its licensees (or sublicensees) to,
                 do any act, or omit to do any act, whereby any material Patent included in the Collateral
                 that is related to the conduct of its business may become invalidated or dedicated to the
                 public, and it shall continue to mark any products covered by a Patent with the relevant
                 patent number as necessary to establish and preserve its maximum rights under
                 applicable patent laws.

                          (ii)    It will (either directly or through its licensees or its sublicensees), for
                 each Trademark included in the Collateral that is related to the conduct of its business,
                 (A) maintain such Trademark in full force free from any claim of abandonment or
                 invalidity for non-use, (B) maintain the quality of products and services offered under
                 any such Trademark, (C) display such Trademark with notice of Federal or other
                 analogous registration to the extent necessary to establish and preserve its rights under
                 applicable law, and (D) not knowingly use or knowingly permit any of its licensees or
                 sublicensees to use such Trademark in violation of any third party’s valid and legal
                 rights.



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                    (iii)    It will (either directly or through its licensees or its sublicensees), for
            each material work covered by a Copyright included in the Collateral that is related to
            the conduct of its business, continue to publish, reproduce, display, adopt and distribute
            such work with appropriate copyright notice as necessary to establish and preserve its
            maximum rights under applicable copyright laws.

                     (iv)    It will promptly notify the Administrative Agent in writing if it knows
            that any Intellectual Property included in the Collateral material to the conduct of its
            business may become abandoned, lost or dedicated to the public, or of any adverse
            determination or development (including the institution of, or any such determination
            or development in, any proceeding in the United States Patent and Trademark Office or
            the United States Copyright Office, or any similar offices or tribunals in the United
            States of America or any other country) regarding such Grantor’s ownership of any such
            Intellectual Property, its right to register the same, or to keep and maintain the same.

                     (v)     In no event shall it, either directly or through any agent, employee,
            licensee or designee, file an application for any Intellectual Property with the United
            States Patent and Trademark Office, the United States Copyright Office or any similar
            offices in the United States of America or any other country, unless it promptly notifies
            the Administrative Agent in writing thereof and, upon request of the Administrative
            Agent, executes and delivers any and all agreements, instruments, documents and
            papers as the Administrative Agent may reasonably request to evidence the
            Administrative Agent’s security interest in such Intellectual Property, and such Grantor
            hereby appoints the Administrative Agent as its attorney-in-fact to execute and file such
            writings for the foregoing purposes, all acts of such attorney being hereby ratified and
            confirmed; such power, being coupled with an interest, is irrevocable.

                     (vi)     It will take all necessary steps that are consistent with the practice in
            any proceeding before the United States Patent and Trademark Office, the United States
            Copyright Office or any similar offices or tribunals in the United States of America or
            any other country, to maintain and pursue each material application relating to the
            Intellectual Property included in the Collateral owned or held by it or on its behalf (and
            to obtain the relevant grant or registration) and to maintain each issued Patent and each
            registered Trademark and Copyright included in the Collateral that is material to the
            conduct of its business, including timely filings of applications for renewal, affidavits
            of use, affidavits of incontestability and payment of maintenance fees, and, if consistent,
            in good faith, with reasonable business judgment, to initiate opposition, interference
            and cancellation proceedings against third parties. In the event that it has reason to
            believe that any Intellectual Property included in the Collateral material to the conduct
            of its business has been or is about to be infringed, misappropriated or diluted by a third
            party, it promptly shall notify the Administrative Agent in writing and shall, if
            consistent, in good faith, with reasonable business judgment, promptly sue for
            infringement, misappropriation or dilution and to recover any and all damages for such
            infringement, misappropriation or dilution, and take such other actions consistent with
            reasonable business practices under the circumstances to protect such Intellectual
            Property.

                     (vii)   During the continuance of an Event of Default, it shall use its best
            efforts to obtain all requisite consents or approvals by the licensor of each License
            included in the Collateral owned or held by it or on its behalf to effect the assignment



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              (as collateral security) of all of its right, title and interest thereunder to the
              Administrative Agent or its designee.

                     (viii) It shall take reasonable steps necessary to protect the secrecy of all
              Trade Secrets used in the conduct of its business, including restricting access to such
              Trade Secrets.

                       (ix)    It shall continue to collect all amounts due or to become due to such
              Grantor under all licenses of Intellectual Property included in the Collateral owned or
              held by it or on its behalf, and diligently exercise each material right it may have
              thereunder, in each case at its own cost and expense, and in connection with such
              collections and exercise, it shall, upon the occurrence and during the continuance of an
              Event of Default, take such action as it or the Administrative Agent may reasonably
              deem necessary. Notwithstanding the foregoing, the Administrative Agent shall have
              the right at any time after the occurrence and during the continuance of an Event of
              Default to notify, or require such Grantor to notify, any relevant obligors with respect
              to such amounts of the Administrative Agent’s security interest therein.

                      (x)     On the date hereof, each Grantor having Trademarks (or applications
              with respect thereto), Patents (or applications with respect thereto) or Copyrights (or
              applications with respect thereto) shall execute and deliver to the Administrative Agent
              a Trademark Security Agreement, Patent Security Agreement and/or Copyright
              Security Agreement, as applicable. In addition, each Grantor shall promptly notify the
              Administrative Agent in writing upon the filing of an application with the United States
              Patent and Trademark Office and United States Copyright Office, as applicable, and
              shall deliver a Trademark Security Agreement, Patent Security Agreement and/or
              Copyright Security Agreement, as applicable, with respect thereto. Any expense
              incurred in connection with each Grantor’s obligations under this Section 3.6 shall be
              borne by such Grantor.

              Section 3.7      Commercial Tort Claims.

             (a)      Representations and Warranties. Each of the Grantors, jointly with the other
      Grantors and severally, represents and warrants to the Administrative Agent and the other
      Secured Parties that Annex 2 sets forth, as of the Applicable Date, all Commercial Tort Claims.

              (b)     Covenants and Agreements. Each Grantor hereby covenants and agrees that it
      shall provide the Administrative Agent with prompt written notice of each Commercial Tort
      Claim, and any judgment, settlement or other disposition thereof and will take such action as
      the Administrative Agent may request to grant and perfect a security interest therein in favor of
      the Administrative Agent and the other Secured Parties.

              Section 3.8      Deposit Accounts.

              (a)      Representations and Warranties. Each of the Grantors, jointly with the other
      Grantors and severally, represents and warrants to the Administrative Agent and the other
      Secured Parties that the only Deposit Accounts maintained by any Grantor on each Applicable
      Date are those listed on Annex 3.




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                (b)      Covenants and Agreements. Each Grantor hereby covenants and agrees as
        follows:

                         (i)     Subject to Section 6.15 of the Credit Agreement, each Grantor shall
                cause all cash and all cash Proceeds of Collateral received by such Grantor to be
                deposited in, or swept into, a Controlled Account on a daily basis, and no Grantor shall
                establish or maintain any account with any financial or other institution in which cash
                or the cash Proceeds of Collateral are deposited into an account other than a Controlled
                Account.

                         (ii)     In the event (A) any Grantor or any Approved Depository in which a
                Controlled Account is maintained shall, after the date hereof, terminate the applicable
                Control Agreement for any reason, (B) the Administrative Agent shall demand the
                termination of an agreement with respect to the maintenance of a Deposit Account as a
                result of the failure of the applicable depository bank to comply with the terms of the
                applicable Control Agreement, or (C) the Administrative Agent determines in its sole
                discretion that the financial condition of a depository bank party to a Control Agreement
                has materially deteriorated, such Grantor agrees to notify all of its obligors that were
                making payments to such terminated Deposit Account to make all future payments to
                another Controlled Account.

                                               ARTICLE 4

                      FURTHER ASSURANCES; FILING AUTHORIZATION

                 Section 4.1    Further Assurances. Each Grantor hereby covenants and agrees, at its
own cost and expense, to execute, acknowledge, deliver and/or cause to be duly filed and/or delivered
all such further agreements, instruments and other documents (including favorable legal opinions in
connection with any Transaction if reasonably required by the Administrative Agent), and take all such
further actions, that the Administrative Agent may from time to time reasonably request to preserve,
protect and perfect the Security Interest granted by it and the rights and remedies created hereby,
including the payment of any fees and taxes required in connection with its execution and delivery of
this Agreement, the granting by it of the Security Interest and the filing of any financing statements or
other documents in connection herewith or therewith.

                Section 4.2       Filings.

                 (a)     Each Grantor hereby irrevocably authorizes the Administrative Agent at any
        time and from time to time to file in any relevant jurisdiction any financing statements and
        amendments thereto that contain the information required by Article 9 of the Uniform
        Commercial Code of each applicable jurisdiction for the filing of any financing statement or
        amendment relating to the Collateral, including (i) whether such Grantor is an organization, the
        type of organization and any organizational identification number issued to such Grantor, (ii) in
        the case of a financing statement filed as a fixture filing or indicating Collateral as as-extracted
        collateral or timber to be cut, a sufficient description of the real property to which the Collateral
        relates, and (iii) any financing or continuation statements or other documents without the
        signature of such Grantor where permitted by law, including the filing of financing statements
        describing the Collateral as “all assets now owned or hereafter acquired by the Grantor or in
        which Grantor otherwise has rights” or any similar phrase, regardless of whether any particular



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      asset comprised in the Collateral falls within the scope of Article 9 of the Uniform Commercial
      Code, or as being of an equal or lesser scope or with greater detail. Each Grantor agrees to
      provide all information described in the immediately preceding sentence to the Administrative
      Agent promptly upon the reasonable request by the Administrative Agent. Each Grantor also
      ratifies its authorization for the Administrative Agent to have filed in any Uniform Commercial
      Code jurisdiction any like financing statements or amendments thereto if filed prior to the date
      hereof.

              (b)       Each Grantor hereby further authorizes the Administrative Agent to file filings
      with the United States Patent and Trademark Office or United States Copyright Office (or any
      successor office or any similar office in any other country), including this Agreement or other
      documents for the purpose of perfecting, confirming, continuing, enforcing or protecting the
      security interest granted by such Grantor hereunder, without the signature of such Grantor, and
      naming such Grantor, as debtor, and the Administrative Agent, as secured party.

                                             ARTICLE 5

                                  REMEDIES UPON DEFAULT

              Section 5.1      Remedies Generally.

               (a)     General Rights. Upon the occurrence and during the continuance of an Event
      of Default, each Grantor agrees to deliver each item of Collateral owned or held by it or on its
      behalf to the Administrative Agent on demand, and it is agreed that the Administrative Agent
      shall have the right to take any of or all the following actions at the same or different times: (i)
      with respect to any Collateral consisting of Intellectual Property or Commercial Tort Claims,
      on demand, to cause the Security Interest to become an assignment, transfer and conveyance of
      any such Collateral by the applicable Grantors to the Administrative Agent, or, in the case of
      Intellectual Property, to license or sublicense, whether general, special or otherwise, and
      whether on an exclusive or non-exclusive basis, any such Collateral throughout the world on
      such terms and conditions and in such manner as the Administrative Agent shall determine,
      unless any of the Grantor’s obligations set forth in this clause (a) would violate any then-existing
      licensing arrangements to the extent that waivers cannot be obtained, (ii) with or without legal
      process and with or without prior notice or demand for performance, to take possession of the
      Collateral owned or held by it or on its behalf and without liability for trespass to enter any
      premises where such Collateral may be located for the purpose of taking possession of or
      removing such Collateral and, generally, to exercise any and all rights afforded to a Secured
      Party under the Uniform Commercial Code or other applicable law, and (iii) appoint a receiver
      for all or any portion of the Collateral. Without limiting the generality of the foregoing, each
      Grantor agrees that the Administrative Agent shall have the right, upon the occurrence and
      during the continuance of an Event of Default, subject to the mandatory requirements of
      applicable law, to sell or otherwise dispose of any of the Collateral owned or held by or on
      behalf of such Grantor, at public or private sale or at any broker’s board or on any securities
      exchange, for cash, upon credit or for future delivery as the Administrative Agent shall deem
      appropriate. The Administrative Agent shall be irrevocably authorized at any such sale of such
      Collateral constituting securities (if it deems it advisable to do so) to restrict the prospective
      bidders or purchasers to Persons who will represent and agree that they are purchasing such
      Collateral for their own account for investment and not with a view to the distribution or sale
      thereof, and upon consummation of any such sale, the Administrative Agent shall have the right



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      to assign, transfer and deliver to the purchaser or purchasers thereof the Collateral so sold. Each
      such purchaser at any such sale shall hold the property sold absolutely, free from any claim or
      right on the part of the applicable Grantor, and such Grantor hereby waives (to the extent
      permitted by law) all rights of redemption, stay, valuation and appraisal which such Grantor
      now has or may at any time in the future have under any rule of law or statute now existing or
      hereafter enacted.

                (b)     Sale of Collateral. The Administrative Agent shall give each Grantor ten days’
      written notice (which such Grantor agrees is reasonable notice within the meaning of Section
      9-611 of the Uniform Commercial Code as in effect in the State of Texas or its equivalent in
      other jurisdictions (or any successor provisions)) of the Administrative Agent’s intention to
      make any sale of any of the Collateral owned or held by or on behalf of such Grantor. Such
      notice, in the case of a public sale, shall state the time and place for such sale and, in the case of
      a sale at a broker’s board or on a securities exchange, shall state the board or exchange at which
      such sale is to be made and the day on which such Collateral will first be offered for sale at such
      board or exchange. Any such public sale shall be held at such time or times within ordinary
      business hours and at such place or places as the Administrative Agent may fix and state in the
      notice (if any) of such sale. At any such sale, the Collateral to be sold may be sold in one lot as
      an entirety or in separate parcels, as the Administrative Agent may (in its sole and absolute
      discretion) determine. The Administrative Agent shall not be obligated to make any sale of any
      Collateral if it shall determine not to do so, regardless of the fact that notice of sale of such
      Collateral shall have been given. The Administrative Agent may, without notice or publication,
      adjourn any public or private sale or cause the same to be adjourned from time to time by
      announcement at the time and place fixed for sale, and such sale may, without further notice, be
      made at the time and place to which the same was so adjourned. In case any sale of any of the
      Collateral is made on credit or for future delivery, the Collateral so sold may be retained by the
      Administrative Agent until the sale price is paid by the purchaser or purchasers thereof, but the
      Administrative Agent shall not incur any liability in case any such purchaser or purchasers shall
      fail to take up and pay for the Collateral so sold and, in case of any such failure, such Collateral
      may be sold again upon like notice. At any public (or, to the extent permitted by applicable law,
      private) sale made pursuant to this Section, any Secured Party may bid for or purchase, free (to
      the extent permitted by applicable law) from any right of redemption, stay, valuation or appraisal
      on the part of such Grantor (all said rights being also hereby waived and released to the extent
      permitted by law), any of the Collateral offered for sale and may make payment on account
      thereof by using any claim then due and payable to such Secured Party from such Grantor as a
      credit against the purchase price, and such Secured Party may, upon compliance with the terms
      of sale, hold, retain and dispose of such property without further accountability to such Grantor
      therefor. For purposes hereof, (i) a written agreement to purchase any of the Collateral shall be
      treated as a sale thereof, (ii) the Administrative Agent shall be free to carry out such sale
      pursuant to such agreement, and (iii) no Grantor shall be entitled to the return of any of the
      Collateral subject thereto, notwithstanding the fact that after the Administrative Agent shall
      have entered into such an agreement all Events of Default shall have been remedied and the
      Secured Obligations paid in full. As an alternative to exercising the power of sale herein
      conferred upon it, the Administrative Agent may proceed by a suit or suits at law or in equity to
      foreclose upon any of the Collateral and to sell any of the Collateral pursuant to a judgment or
      decree of a court or courts having competent jurisdiction or pursuant to a proceeding by a
      court-appointed receiver. Any sale pursuant to the provisions of this Article shall be deemed to
      conform to the commercially reasonable standards as provided in Subchapter F of Article 9 of
      the Uniform Commercial Code as in effect in the State of Texas or its equivalent in other
      jurisdictions (or any successor provisions). Without limiting the generality of the foregoing,



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        each Grantor agrees as follows: (A) if the proceeds of any sale of the Collateral owned or held
        by it or on its behalf pursuant to this Article are insufficient to pay all the Secured Obligations,
        it shall be liable for the resulting deficiency and the fees, charges and disbursements of any
        counsel employed by the Administrative Agent or any other Secured Party to collect such
        deficiency, (B) it hereby waives any claims against the Administrative Agent arising by reason
        of the fact that the price at which any such Collateral may have been sold at any private sale
        pursuant to this Article was less than the price that might have been obtained at a public sale,
        even if the Administrative Agent accepts the first offer received and does not offer such
        Collateral to more than one offeree, (C) there is no adequate remedy at law for failure by it to
        comply with the provisions of this Section and that such failure would not be adequately
        compensable in damages, and therefore agrees that its agreements in this Section may be
        specifically enforced, (D) the Administrative Agent may sell any such Collateral without giving
        any warranties as to such Collateral, and the Administrative Agent may specifically disclaim
        any warranties of title or the like, and (E) the Administrative Agent shall have no obligation to
        marshal any such Collateral.

If an Event of Default shall occur and be continuing, all Proceeds received by any Grantor consisting of
cash, cash equivalents, checks and other near-cash items shall be held by such Grantor in trust for the
Secured Parties, segregated from other funds of such Grantor, and shall, forthwith upon receipt by such
Grantor, be turned over to the Administrative Agent in the exact form received by such Grantor (duly
endorsed by such Grantor to the Administrative Agent, if required). All Proceeds received by the
Administrative Agent hereunder shall, pending application thereof as set forth in Section 5.2, be held by
the Administrative Agent in a collateral account maintained under its sole dominion and control. All
Proceeds while held by the Administrative Agent in a collateral account (or by such Grantor in trust for
the Secured Parties) shall continue to be held as collateral security for all the Obligations and shall not
constitute payment thereof until applied as provided in Section 5.2.

                 Section 5.2       Application of Proceeds of Collateral. All proceeds received by the
Administrative Agent in respect of any sale, any collection from, or other realization upon all or any
part of the Collateral as well as any Collateral consisting of cash shall be applied in full or in part by the
Administrative Agent against the Secured Obligations in accordance with Section 8.3 of the Credit
Agreement.

                  Section 5.3      Federal Securities Laws. In view of the position of each Grantor in
relation to the Investment-Related Property, or because of other current or future circumstances, a
question may arise under the Securities Act of 1933, as now or hereafter in effect, or any similar statute
hereafter enacted analogous in purpose or effect (such Act and any such similar statute as from time to
time in effect being called the “Federal Securities Laws”) with respect to any disposition of the
Investment-Related Property permitted hereunder. Each Grantor understands that compliance with the
Federal Securities Laws might very strictly limit the course of conduct of the Administrative Agent if
the Administrative Agent were to attempt to dispose of all or any part of the Investment-Related
Property, and might also limit the extent to which or the manner in which any subsequent transferee of
any Investment-Related Property could dispose of the same. Similarly, there may be other legal
restrictions or limitations affecting the Administrative Agent in any attempt to dispose of all or part of
the Investment-Related Property under applicable “blue sky” or other state securities laws or similar
laws analogous in purpose or effect. Each Grantor recognizes that in light of such restrictions and
limitations the Administrative Agent may, with respect to any sale of the Investment-Related Property,
limit the purchasers to those who will agree, among other things, to acquire such Investment-Related
Property for their own account, for investment, and not with a view to the distribution or resale thereof.
Each Grantor acknowledges and agrees that in light of such restrictions and limitations, the



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Administrative Agent, in its sole and absolute discretion, (i) may proceed to make such a sale whether
or not a registration statement for the purpose of registering such Investment-Related Property, or any
part thereof, shall have been filed under the Federal Securities Laws and (ii) may approach and negotiate
with a single potential purchaser to effect such sale. Each Grantor acknowledges and agrees that any
such sale might result in prices and other terms less favorable to the seller than if such sale were a public
sale without such restrictions. In the event of any such sale, the Administrative Agent shall incur no
responsibility or liability for selling all or any part of the Investment-Related Property at a price that the
Administrative Agent, in its sole and absolute discretion, may in good faith deem reasonable under the
circumstances, notwithstanding the possibility that a substantially higher price might have been realized
if the sale were deferred until after registration as aforesaid or if more than a single purchaser were
approached. The provisions of this Section will apply notwithstanding the existence of a public or
private market upon which the quotations or sales prices may exceed substantially the price at which the
Administrative Agent sells any such Investment-Related Property.

                 Section 5.4      Grant of License to Use Intellectual Property. For the purpose of
enabling the Administrative Agent to exercise rights and remedies under this Article, at such time as the
Administrative Agent shall be lawfully entitled to exercise such rights and remedies, each Grantor
hereby grants, to the extent it has the right to grant, to the Administrative Agent an irrevocable,
nonexclusive license (exercisable without payment of royalty or other compensation to such Grantor) to
use, license or sublicense any of the Collateral consisting of Intellectual Property now owned or held or
hereafter acquired or held by or on behalf of such Grantor, and wherever the same may be located, and
including in such license reasonable access to all media in which any of the licensed items may be
recorded or stored and to all computer software and programs used for the compilation or printout
thereof. The use of such license by the Administrative Agent shall be exercised, at the option of the
Administrative Agent, upon the occurrence and during the continuation of an Event of Default; provided
that any license, sublicense or other transaction entered into by the Administrative Agent in accordance
herewith shall be binding upon such Grantor notwithstanding any subsequent cure of an Event of
Default. Any royalties and other payments received by the Administrative Agent shall be applied in
accordance with Section 5.2.

                 Section 5.5        Registration, etc. Each Grantor agrees that, upon the occurrence and
during the continuance of an Event of Default, if for any reason the Administrative Agent desires to sell
any of the Pledged Collateral owned or held by or on behalf of such Grantor at a public sale, it will, at
any time and from time to time, upon the written request of the Administrative Agent, use its best efforts
to take or to cause, where applicable, the issuer of such Pledged Collateral to take such action and
prepare, distribute and/or file such documents, as are required or advisable in the reasonable opinion of
counsel for the Administrative Agent to permit the public sale of such Pledged Collateral. Each Grantor
further agrees to indemnify, defend and hold harmless the Administrative Agent, each other Secured
Party, any underwriter and their respective officers, directors, affiliates and controlling Persons from
and against all loss, liability, expenses, costs of counsel (including fees and expenses of legal counsel),
and claims (including the costs of investigation) that they may incur, insofar as such loss, liability,
expense or claim, as applicable, relates to such Grantor or any of its property, and arises out of or is
based upon any alleged untrue statement of a material fact contained in any prospectus (or any
amendment or supplement thereto) or in any notification or offering circular, or arises out of or is based
upon any alleged omission to state a material fact required to be stated therein or necessary to make the
statements in any thereof not misleading, except insofar as the same may have been caused by any untrue
statement or omission based upon information furnished in writing to such Grantor or the issuer of such
Pledged Collateral, as applicable, by the Administrative Agent or any other Secured Party expressly for
use therein. Each Grantor further agrees, upon such written request referred to above, to use its best
efforts to qualify, file or register, or cause, where applicable, the issuer of such Pledged Collateral to



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qualify, file or register, any of the Pledged Collateral owned or held by or on behalf of such Grantor
under the “blue sky” or other securities laws of such states as may be requested by the Administrative
Agent and keep effective, or cause to be kept effective, all such qualifications, filings or registrations.
Each Grantor will bear all costs and expenses of carrying out its obligations under this Section. Each
Grantor acknowledges that there is no adequate remedy at law for failure by it to comply with the
provisions of this Section and that such failure would not be adequately compensable in damages, and
therefore agrees that its agreements contained in this Section may be specifically enforced.

                  Section 5.6      Remedies Cumulative. Each and every right, power and remedy
hereby specifically given to the Administrative Agent or any other Secured Party shall be in addition to
every other right, power and remedy specifically given to the Administrative Agent or any other Secured
Party under this Agreement, the other Collateral Documents or now or hereafter existing at law, in equity
or by statute and each and every right, power and remedy whether specifically herein given or otherwise
existing may be exercised from time to time or simultaneously and as often and in such order as may be
deemed expedient by the Administrative Agent or any other Secured Party. All such rights, powers and
remedies shall be cumulative and the exercise or the beginning of the exercise of one shall not be deemed
a waiver of the right to exercise any other or others. No delay or omission of the Administrative Agent
or any other Secured Party in the exercise of any such right, power or remedy, no single or partial
exercise of any such right, power or remedy, no abandonment or discontinuance of steps to enforce such
right, power or remedy and no renewal or extension of any of the Secured Obligations shall impair any
such right, power or remedy or shall be construed to be a waiver of any Default or an acquiescence
thereof. No notice to or demand on any Loan Party in any case shall entitle it to any other or further
notice or demand in similar or other circumstances or constitute a waiver of any of the rights of the
Administrative Agent or any other Secured Party to any other or further action in any circumstances
without notice or demand. In the event that the Administrative Agent shall bring any suit to enforce any
of its rights hereunder and shall be entitled to judgment, then in such suit the Administrative Agent may
recover its expenses, including attorneys’ fees and expenses, and the amounts thereof shall be included
in such judgment.

                Section 5.7       Deficiency. Each Grantor shall remain liable for any deficiency if the
proceeds of any sale or other disposition of the Collateral are insufficient to pay the Secured Obligations
and the documented out-of-pocket fees and disbursements of any attorneys employed by the
Administrative Agent to collect such deficiency.

                                               ARTICLE 6

                          CONCERNING THE ADMINISTRATIVE AGENT


                  Section 6.1       In General. The Administrative Agent has been appointed pursuant to
the Credit Agreement. The actions of the Administrative Agent hereunder are subject to the provisions
of the Credit Agreement. The Administrative Agent shall have the right hereunder to make demands,
to give notices, to exercise or refrain from exercising any rights, and to take or refrain from taking action
(including the release or substitution of the Collateral), in accordance with this Agreement and the Credit
Agreement. The Administrative Agent may employ agents and attorneys-in-fact in connection herewith
and shall not be liable for the negligence or misconduct of any such agents or attorneys-in-fact selected
by it in good faith except for gross negligence or willful misconduct. The Administrative Agent may
resign and a successor Administrative Agent may be appointed in the manner provided in the Credit
Agreement. Upon the acceptance of any appointment as the Administrative Agent by a successor



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Administrative Agent, that successor Administrative Agent shall thereupon succeed to and become
vested with all the rights, powers, privileges and duties of the retiring Administrative Agent under this
Agreement, and the retiring Administrative Agent shall thereupon be discharged from its duties and
obligations under this Agreement. After any retiring Administrative Agent’s resignation, the provisions
hereof shall inure to its benefit as to any actions taken or omitted to be taken by it under this Agreement
while it was the Administrative Agent.

                  Section 6.2      Standard of Care. The Administrative Agent shall be deemed to have
exercised reasonable care in the custody and preservation of the Collateral in its possession if such
Collateral is accorded treatment substantially equivalent to that which the Administrative Agent, in its
individual capacity, accords its own property consisting of similar instruments or interests, it being
understood that neither the Administrative Agent nor any of the Secured Parties shall have responsibility
for (i) ascertaining or taking action with respect to calls, conversions, exchanges, maturities, tenders or
other matters relating to any Pledged Collateral, whether or not the Administrative Agent or any other
Secured Party has or is deemed to have knowledge of such matters or (ii) taking any necessary steps to
preserve rights against any Person with respect to any Collateral.

                  Section 6.3       Administrative Agent Appointed Attorney-in-Fact. Each Grantor
hereby appoints the Administrative Agent and any officer or agent thereof, as its true and lawful agent
and attorney-in-fact for the purpose of carrying out the provisions of this Agreement and taking any
action and executing any instrument that the Administrative Agent may deem necessary or advisable to
accomplish the purposes hereof, which appointment is irrevocable and coupled with an interest, and
without limiting the generality of the foregoing, the Administrative Agent shall have the right, with
power of substitution for such Grantor and in such Grantor’s name or otherwise, for the use and benefit
of the Administrative Agent and the other Secured Parties, upon the occurrence and during the
continuance of an Event of Default and at such other time or times permitted by the Loan Documents,
(i) to receive, endorse, assign and/or deliver any and all notes, acceptances, checks, drafts, money orders
or other evidences of payment relating to the Collateral owned or held by it or on its behalf or any part
thereof; (ii) to demand, collect, receive payment of, give receipt for, and give discharges and releases
of, any of such Collateral; (iii) to sign the name of such Grantor on any invoice or bill of lading relating
to any of such Collateral; (iv) to send verifications of Receivables included in the Collateral owned or
held by it or on its behalf to any Account Debtor; (v) to commence and prosecute any and all suits,
actions or proceedings at law or in equity in any court of competent jurisdiction to collect or otherwise
realize on any of the Collateral owned or held by it or on its behalf or to enforce any rights in respect of
any of such Collateral; (vi) to settle, compromise, compound, adjust or defend any actions, suits or
proceedings relating to any of such Collateral; (vii) to notify, or to require such Grantor to notify,
Account Debtors and other obligors to make payment directly to the Administrative Agent, (viii) to use,
sell, assign, transfer, pledge, make any agreement with respect to or otherwise deal with any of such
Collateral, and (ix) to do all other acts and things necessary to carry out the purposes of this Agreement,
as fully and completely as though the Administrative Agent were the absolute owner of such Collateral
for all purposes; provided, however, that nothing herein contained shall be construed as requiring or
obligating the Administrative Agent or any other Secured Party to make any commitment or to make
any inquiry as to the nature or sufficiency of any payment received by the Administrative Agent or any
other Secured Party, or to present or file any claim or notice, or to take any action with respect to any of
the Collateral or the monies due or to become due in respect thereof or any property covered thereby,
and no action taken or omitted to be taken by the Administrative Agent or any other Secured Party with
respect to any of the Collateral shall give rise to any defense, counterclaim or offset in favor of such
Grantor or to any claim or action against the Administrative Agent or any other Secured Party. The
provisions of this Article shall in no event relieve any Grantor of any of its obligations hereunder or
under the other Loan Documents with respect to any of the Collateral or impose any obligation on the



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Administrative Agent or any other Secured Party to proceed in any particular manner with respect to
any of the Collateral, or in any way limit the exercise by the Administrative Agent or any other Secured
Party of any other or further right that it may have on the date of this Agreement or hereafter, whether
hereunder, under any other Loan Document, by law or otherwise.

                  Section 6.4     Reimbursement of Administrative Agent. Each Grantor agrees, jointly
with the other Grantors and severally, to pay to the Administrative Agent the amount of any and all
out-of-pocket costs and expenses, including the fees and disbursements of counsel and of any experts or
agents, that the Administrative Agent may incur in connection with (i) the administration of this
Agreement relating to such Grantor or any of its property, (ii) the custody or preservation of, or the sale
of, collection from, or other realization upon, any of the Collateral owned or held by or on behalf of
such Grantor, (iii) the exercise, enforcement or protection of any of the rights of the Administrative
Agent hereunder relating to such Grantor or any of its property, or (iv) the failure by such Grantor to
perform or observe any of the provisions hereof. Without limitation of its indemnification obligations
under the other Loan Documents, each of the Grantors agrees, jointly with the other Grantors and
severally, to indemnify the Administrative Agent and the other Indemnitees against, and hold each
Indemnitee harmless from, any and all losses, claims, damages, liabilities and related out-of-pocket costs
and expenses, including counsel fees and disbursements, incurred by or asserted against any Indemnitee
arising out of, in any way connected with, or as a result of (a) the execution or delivery by such Grantor
of this Agreement or any other Loan Document or any agreement or instrument contemplated hereby or
thereby, or the performance by such Grantor of its obligations under the Loan Documents and the other
transactions contemplated thereby or (b) any claim, litigation, investigation or proceeding relating to
any of the foregoing, whether or not any Indemnitee is a party thereto, provided that such indemnity
shall not, as to any Indemnitee, be available to the extent that such losses, claims, damages, liabilities or
related expenses are determined by a court of competent jurisdiction by final and nonappealable
judgment to have resulted from the gross negligence or willful misconduct of such Indemnitee. IT IS
THE EXPRESS INTENTION OF THE PARTIES HERETO THAT EACH INDEMNITEE
SHALL BE INDEMNIFIED AGAINST, AND HELD HARMLESS FROM, ANY AND ALL
ACTUAL LOSSES, CLAIMS, DAMAGES, LIABILITIES AND RELATED OUT-OF-POCKET
EXPENSES (INCLUDING REASONABLE ATTORNEY COSTS), INCURRED BY ANY
INDEMNITEE OR ASSERTED AGAINST ANY INDEMNITEE BY ANY THIRD PARTY OR
BY ANY LOAN PARTY ARISING OUT OF, IN CONNECTION WITH, OR AS A RESULT OF,
THE SOLE, CONTRIBUTORY, COMPARATIVE, CONCURRENT OR ORDINARY
NEGLIGENCE OF SUCH INDEMNITEE. Any amounts payable as provided hereunder shall be
additional Secured Obligations secured hereby and by the other Collateral Documents. The provisions
of this Section shall remain operative and in full force and effect regardless of the termination of this
Agreement or any other Loan Document, the consummation of the transactions contemplated hereby or
thereby, the repayment of any of the Secured Obligations, the invalidity or unenforceability of any term
or provision of this Agreement or any other Loan Document or any investigation made by or on behalf
of the Administrative Agent or any other Secured Party. All amounts due under this Section shall be
payable within ten days of written demand therefor and shall bear interest on the unpaid portion thereof
from the due date therefor at the rate applicable to ABR Borrowings specified in Section 3.1 of the
Credit Agreement.,




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                                               ARTICLE 7

                                     WAIVERS; AMENDMENTS

        No failure or delay of the Administrative Agent in exercising any power or right hereunder shall
operate as a waiver thereof, nor shall any single or partial exercise of any such right or power, or any
abandonment or discontinuance of steps to enforce such a right or power, preclude any other or further
exercise thereof or the exercise of any other right or power. The rights and remedies of the
Administrative Agent and the other Secured Parties hereunder and under the other Loan Documents are
cumulative and are not exclusive of any rights or remedies that they would otherwise have. No notice
or demand on any Grantor in any case shall entitle such Grantor to any other or further notice or demand
in similar or other circumstances. Neither this Agreement nor any provision hereof may be waived,
amended, supplemented or otherwise modified, or any departure therefrom consented to, except
pursuant to an agreement or agreements in writing entered into by, between or among the Administrative
Agent and the Grantor or Grantors with respect to which such waiver, amendment, other modification
or consent is to apply, subject to any consent required in accordance with Section 10.2 of the Credit
Agreement.

                                               ARTICLE 8

                                 SECURITY INTEREST ABSOLUTE

         All rights of the Administrative Agent hereunder, the Security Interest and all obligations of
each Grantor hereunder shall be absolute and unconditional irrespective of (i) any lack of validity or
enforceability of the Credit Agreement, any other Loan Document, any agreement with respect to any
of the Secured Obligations, or any other agreement or instrument relating to any of the foregoing, (ii)
any change in the time, manner or place of payment of, or in any other term of, all or any of the Secured
Obligations, or any other waiver, amendment, supplement or other modification of, or any consent to
any departure from, the Credit Agreement, any other Loan Document or any other agreement or
instrument relating to any of the foregoing, (iii) except as otherwise expressly permitted under the Loan
Documents or effected pursuant thereto, any exchange, release or non-perfection of any Lien on any
other collateral, or any release or waiver, amendment, supplement or other modification of, or consent
under, or departure from, any guaranty, securing or guaranteeing all or any of the Secured Obligations,
or (iv) any other circumstance (other than indefeasible payment in full of the Secured Obligations) that
might otherwise constitute a defense available to, or a discharge of, any Grantor in respect of the Secured
Obligations or in respect of this Agreement or any other Loan Document.

                                               ARTICLE 9

                                      TERMINATION; RELEASE

                 Section 9.1     Termination and Release. This Agreement, the Security Interest and
all other security interests granted hereby shall terminate, and the Grantors shall automatically be
released from their obligations hereunder, upon the Termination Date.

                Section 9.2      Other Releases of Grantors; Collateral.




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                 (a)     Upon the effectiveness of any written consent to the release of the Security
        Interest in any Collateral pursuant to Section 10.2 of the Credit Agreement, the Security Interest
        in such Collateral shall be automatically released.

                 (b)     Upon any sale, transfer or other disposition of Collateral permitted by the Loan
        Documents (other than to a Loan Party), the Security Interest in such Collateral shall be
        automatically released (other than to the extent any such sale, transfer or other disposition of
        such Collateral would, immediately after giving effect thereto, result in the receipt by such
        Grantor of any other property (whether in the form of Proceeds or otherwise) that would, but
        for the release of the Security Interest therein pursuant to this clause, constitute Collateral, in
        which event the Lien created hereunder shall continue in such property).

                 (c)     If any of the Pledged Equity Interests in any Grantor are sold, transferred or
        otherwise disposed of pursuant to a transaction permitted by the Loan Documents and,
        immediately after giving effect thereto, such Grantor would no longer be a Subsidiary of a Loan
        Party, then the obligations of such Grantor under this Agreement and the Security Interest in the
        Collateral owned or rights in Collateral held by or on behalf of such Grantor shall be
        automatically released.

                 Section 9.3     Release Documentation. In connection with any termination or release
pursuant to this Article 9, the Administrative Agent shall execute and deliver to any Grantor, at such
Grantor’s expense, all documents that such Grantor shall reasonably request to evidence such
termination or release so long as the applicable Grantor shall have provided the Administrative Agent
such certifications or documents as the Administrative Agent shall reasonably request in order to
demonstrate compliance with the relevant provisions of this Article 9. Any execution and delivery of
documents by the Administrative Agent pursuant to this Section shall be without recourse to or warranty
by the Administrative Agent.

                                              ARTICLE 10

                         ADDITIONAL GUARANTORS AND GRANTORS

         Upon execution and delivery after the date hereof by the Administrative Agent and a Subsidiary
of a Subsidiary Joinder Agreement, such Subsidiary or subsidiary, as applicable, shall become a Grantor
hereunder with the same force and effect as if originally named as a Grantor herein (each an “Additional
Grantor”). The execution and delivery of any Subsidiary Joinder Agreement shall not require the
consent of any other Grantor hereunder. The rights and obligations of each Grantor hereunder, each
other Loan Party and each other party (other than a Credit Party) under the Loan Documents shall remain
in full force and effect notwithstanding the addition of any Additional Grantor as a party to this
Agreement. Each Subsidiary Joinder Agreement shall be accompanied by such certificates, legal
opinions and other documents as the Administrative Agent shall request.

                                              ARTICLE 11

                                          MISCELLANEOUS

                Section 11.1    Notices. All communications and notices hereunder shall be in writing
and given as provided in Section 10.1 of the Credit Agreement.




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                 Section 11.2     Binding Effect; Several Agreement; Assignments Whenever in this
Agreement any of the parties hereto is referred to, such reference shall be deemed to include the
successors and assigns of such party, and all covenants, promises and agreements by or on behalf of any
Grantor that are contained in this Agreement shall bind and inure to the benefit of each party hereto and
its successors and assigns. This Agreement shall become effective as to any Grantor when a counterpart
hereof executed on behalf of such Grantor shall have been delivered to the Administrative Agent and a
counterpart hereof shall have been executed on behalf of the Administrative Agent, and thereafter shall
be binding upon such Grantor and the Administrative Agent and their respective successors and assigns,
and shall inure to the benefit of such Grantor, the Administrative Agent and the other Secured Parties,
and their respective successors and assigns, except that no Grantor shall have the right to assign its rights
or obligations hereunder or any interest herein or in any of the Collateral (and any such attempted
assignment shall be void), except as expressly contemplated by this Agreement or the other Loan
Documents. This Agreement shall be construed as a separate agreement with respect to each of the
Grantors and may be amended, supplemented, waived or otherwise modified or released with respect to
any Grantor without the approval of any other Grantor and without affecting the obligations of any other
Grantor hereunder.

                 Section 11.3       Survival Of Agreement; Severability. All covenants, agreements,
representations and warranties made by the Grantors herein and in the certificates or other instruments
prepared or delivered in connection with or pursuant to this Agreement or any other Loan Document
shall be considered to have been relied upon by the Administrative Agent and the other Secured Parties
and shall survive the execution and delivery of any Loan Document and the making of any Credit
Extension, regardless of any investigation made by the Secured Parties or on their behalf, and shall
continue in full force and effect until this Agreement shall terminate. In the event any one or more of
the provisions contained in this Agreement should be held invalid, illegal or unenforceable in any
respect, the validity, legality and enforceability of the remaining provisions contained herein shall not
in any way be affected or impaired thereby (it being understood that the invalidity of a particular
provision in a particular jurisdiction shall not in and of itself affect the validity of such provision in any
other jurisdiction). The parties shall endeavor in good faith negotiations to replace the invalid, illegal
or unenforceable provisions with valid provisions the economic effect of which comes as close as
possible to that of the invalid, illegal or unenforceable provisions.

                 Section 11.4     Governing Law; Jurisdiction; Venue; Waivers.

                (a)      This Agreement shall be governed by, and construed in accordance with, the
        laws of the State of Texas (without regard to principles of conflicts of laws).

                 (b)     Each of the parties hereto irrevocably and unconditionally submits, for itself
        and its property, to the exclusive jurisdiction of the courts of the State of Texas sitting in Harris
        County and of the United States District Court for the Southern District of Texas and any
        appellate court from any thereof, in any action or proceeding arising out of or relating to this
        Agreement, or for recognition or enforcement of any judgment, and each of the parties hereto
        irrevocably and unconditionally agrees that all claims in respect of any such action or
        proceeding may be heard and determined in such Texas State court or, to the fullest extent
        permitted by applicable law, in such Federal court. Each of the parties hereto agrees that a final
        judgment in any such action or proceeding shall be conclusive and may be enforced in other
        jurisdictions by suit on the judgment or in any other manner provided by law. Nothing in this
        Agreement shall affect any right that the Administrative Agent may otherwise have to bring any
        action or proceeding relating to this Agreement against any Grantor or its properties in the courts
        of any jurisdiction.



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                 (c)      Each of the parties hereto irrevocably and unconditionally waives, to the fullest
        extent permitted by applicable law, any objection that it may now or hereafter have to the laying
        of venue of any action or proceeding arising out of or relating to this Agreement in any court
        referred to in Section 11.4(b). Each of the parties hereto hereby irrevocably waives, to the fullest
        extent permitted by applicable law, the defense of an inconvenient forum to the maintenance of
        such action or proceeding in any such court.

                (d)      Each of the parties hereto irrevocably consents to service of process in the
        manner provided for notices in Section 11.1. Nothing in this Agreement will affect the right of
        any party to this Agreement to serve process in any other manner permitted by law.

            Section 11.5 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY
OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT, TORT OR
ANY OTHER THEORY). EACH PARTY HERETO HEREBY (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD NOT, IN THE EVENT
OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES
THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION.

                 Section 11.6      Waiver of Consequential Damages, Etc. To the fullest extent permitted
by applicable law, no Grantor shall assert, and each Grantor hereby waives, any claim against any
Indemnitee, on any theory of liability, for special, indirect, consequential or punitive damages (as
opposed to direct or actual damages) arising out of, in connection with, or as a result of, this Agreement
or any agreement or instrument contemplated hereby, the transactions contemplated hereby, any Loan
or Letter of Credit or the use of the proceeds thereof.

                 Section 11.7     Headings. Article and Section headings and the Table of Contents used
herein are for convenience of reference only, are not part of this Agreement and shall not affect the
construction of, or be taken into consideration in interpreting, this Agreement.

                 Section 11.8     Counterparts. This Agreement may be executed in counterparts (and
by different parties hereto in different counterparts), each of which shall constitute an original, but all
of which when taken together shall constitute a single contract (subject to Section 11.2) and shall become
effective as provided in Section 11.2. Delivery of an executed counterpart of a signature page of this
Agreement by facsimile or in electronic (e.g., “pdf” or “tif”) format shall be effective as delivery of a
manually executed counterpart of this Agreement.

                                        [Signature pages follow]




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           IN WITNESS WHEREOF, the parties hereto have duly ex
   and year first above written.




                                              B
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                                   BANCORPSOUTH BANK, as Administrative
                                   Agent



                                   By:

                                         Title:   Vice President
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                                                       SCHEDULE 3.4

                                                 PLEDGED COLLATERAL


                      Part A: Pledged Equity Interests (other than LLC Interests and Partnership Interests)
                  Issuer                        Certificate      Registered        No. and      % of Outstanding Equity Interests
                                                  No. (if         Owner            Class of                 of Class
                                                Applicable)                        Shares
                  N/A                              N/A              N/A             N/A                        N/A




                                    Part B: Pledged LLC Interests and Partnership Interests
         Issuer                 Certificate      Registered Owner       No. and      % of Outstanding Equity         Security for
                                  No. (if                               Class of        Interests of Class            Article 8
                                Applicable)                             Shares                                        Purposes?
Bighorn Sand & Gravel LLC          N/A        Bighorn Construction       N/A                  100%                       No
                                              and Reclamation, LLC
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                            Part C: Pledged Debt Securities
Grantor          Obligor      Principal          Date of        Maturity Date (if   Type of Document
                              Amount           Incurrence         Applicable         Evidencing Debt
                                                                                      (if Applicable)
 N/A              N/A            N/A              N/A                 N/A                  N/A
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                                          EXHIBIT A
                                             TO
                               PLEDGE AND SECURITY AGREEMENT

                         FORM OF COPYRIGHT SECURITY AGREEMENT

         COPYRIGHT SECURITY AGREEMENT, dated as of [___________], 2021 (as amended,
restated, supplemented or otherwise modified, this “Agreement”), among BRIDGELINK
ENGINEERING LLC, a Delaware limited liability company (the “Borrower”), each Subsidiary party
hereto as of the date hereof (collectively, the “Subsidiaries” and together with the Borrower, the “Grantors”)
and BANCORPSOUTH BANK, as Administrative Agent (in such capacity, the “Administrative Agent”).

         Reference is made to (a) the Credit Agreement, dated as of August 6, 2021, among the Borrower,
the Lenders party thereto and the Administrative Agent (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”), and (b) the Pledge and
Security Agreement, dated as of August 6, 2021, by and among the Grantors party thereto and the
Administrative Agent (as the same may be amended, restated, supplemented or otherwise modified from
time to time, the “Security Agreement”).

         The Lenders have agreed to extend credit to the Borrower subject to the terms and conditions set
forth in the Credit Agreement, the Guarantors have guaranteed Secured Obligations and the Grantors have
secured their obligations pursuant to the Security Agreement. The obligations of the Lenders to extend
such credit are conditioned upon, among other things, the execution and delivery of this Agreement.

        Accordingly, the parties hereto agree as follows:

       1.      Terms. Capitalized terms used in this Agreement and not otherwise defined herein have
the meanings specified in the Security Agreement or the Credit Agreement.

         2.      Grant of Security Interest. As security for the payment or performance, as applicable, in
full when due (whether at the stated maturity, by acceleration or otherwise) of the Secured Obligations,
each Grantor, pursuant to the Security Agreement, did and hereby does grant to the Administrative Agent
(and its successors and assigns), for the ratable benefit of the Secured Parties, a security interest in, all such
Grantor’s right, title and interest in, to or under any and all of the following assets now owned or at any
time hereafter acquired (collectively, the “Copyright Collateral”):

                 (a)    all copyright rights in any work subject to the copyright laws of the United States
of America, whether as author, assignee, transferee or otherwise, all registrations and applications for
registration of any such copyright in the United States of America (including, without limitation, those
described on Schedule I) (the (“Copyrights”);

                 (b)      all rights and privileges arising under applicable law with respect to the use of
Copyrights;

                 (c)      all reissues, renewals, continuations and extensions thereof and amendments
thereto, and

                (d)    all income, fees, royalties, damages, claims and payments now or hereafter due
and/or payable with respect thereto, including damages and payments for past, present or future
infringements thereof.
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          3.       Security Agreement. The security interests granted to the Administrative Agent herein are
granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
pursuant to the Security Agreement. Each Grantor hereby acknowledges and affirms that the rights and
remedies of the Administrative Agent with respect to the Copyright Collateral are more fully set forth in
the Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as
if fully set forth herein. In the event of any conflict between the terms of this Agreement and the Security
Agreement, the terms of the Security Agreement shall govern.

        4.       Counterparts. This Agreement may be executed in counterparts (and by different parties
hereto in different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
Agreement by facsimile or in electronic (e.g., “pdf” or “tif”) format shall be effective as delivery of a
manually executed counterpart of this Agreement.

        5.       Governing Law. This Agreement shall be governed by, and construed in accordance with,
the laws of the State of Texas (without regard to principles of conflicts of laws).

                                         [Signature page follows]
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      IN WITNESS WHEREOF, the parties hereto have duly executed this Copyright Security
Agreement as of the day and year first above written.

                                        BRIDGELINK ENGINEERING LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN CONSTRUCTION AND
                                        RECLAMATION L.L.C.



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN SAND & GRAVEL LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN INVESTMENTS AND PROPERTIES,
                                        LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BANCORPSOUTH BANK, as Administrative Agent



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]
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                                SCHEDULE I

                                COPYRIGHTS
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                                          EXHIBIT B
                                             TO
                               PLEDGE AND SECURITY AGREEMENT

                            FORM OF PATENT SECURITY AGREEMENT

         PATENT SECURITY AGREEMENT, dated as of [________ __], 2021 (as amended, restated,
supplemented or otherwise modified, this “Agreement”), among BRIDGELINK ENGINEERING LLC,
a Delaware limited liability company (the “Borrower”), each Subsidiary party hereto as of the date hereof
(collectively, the “Subsidiaries” and together with the Borrower, the “Grantors”) and BANCORPSOUTH
BANK, as Administrative Agent (in such capacity, the “Administrative Agent”).

         Reference is made to (a) the Credit Agreement, dated as of August 6, 2021, among the Borrower,
the Lenders party thereto and the Administrative Agent (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”), and (b) the Pledge and
Security Agreement, dated as of August 6, 2021, by and among the Grantors party thereto and the
Administrative Agent (as the same may be amended, restated, supplemented or otherwise modified from
time to time, the “Security Agreement”).

         The Lenders have agreed to extend credit to the Borrower subject to the terms and conditions set
forth in the Credit Agreement, the Guarantors have guaranteed Secured Obligations and the Grantors have
secured their obligations pursuant to the Security Agreement. The obligations of the Lenders to extend
such credit are conditioned upon, among other things, the execution and delivery of this Agreement.

        Accordingly, the parties hereto agree as follows:

       1.      Terms. Capitalized terms used in this Agreement and not otherwise defined herein have
the meanings specified in the Security Agreement or the Credit Agreement.

         2.      Grant of Security Interest. As security for the payment or performance, as applicable, in
full when due (whether at the stated maturity, by acceleration or otherwise) of the Secured Obligations,
each Grantor, pursuant to the Security Agreement, did and hereby does grant to the Administrative Agent
(and its successors and assigns), for the ratable benefit of the Secured Parties, a security interest in, all such
Grantor’s right, title and interest in, to or under any and all of the following assets now owned or at any
time hereafter acquired (collectively, the “Patent Collateral”):

                 (a)     all letters patent of the United States of America, all registrations and recordings
thereof and all applications for letters patent of the United States of America, including registrations,
recordings and pending applications in the United States Patent and Trademark Office (including, without
limitation, those described on Schedule I) (the “Patents”);

                (b)      all inventions and improvements described and claimed therein, including the right
to make, use and/or sell the inventions disclosed or claimed therein,

               (c)    all reissues, continuations, divisions, continuations in part, renewals or extensions
thereof and amendments thereto, and the inventions disclosed or claimed therein, and

                (d)    all income, fees, royalties, damages, claims and payments now or hereafter due
and/or payable thereunder and with respect thereto.
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         3.      Security Agreement. The security interests granted to the Administrative Agent herein are
granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
pursuant to the Security Agreement. Each Grantor hereby acknowledges and affirms that the rights and
remedies of the Administrative Agent with respect to the Patent Collateral are more fully set forth in the
Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as if
fully set forth herein. In the event of any conflict between the terms of this Agreement and the Security
Agreement, the terms of the Security Agreement shall govern.

        4        Counterparts. This Agreement may be executed in counterparts (and by different parties
hereto in different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
Agreement by facsimile or in electronic (e.g., “pdf” or “tif”) format shall be effective as delivery of a
manually executed counterpart of this Agreement.

        5.       Governing Law. This Agreement shall be governed by, and construed in accordance with,
the laws of the State of Texas (without regard to principles of conflicts of laws).

                                         [Signature page follows]
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      IN WITNESS WHEREOF, the parties hereto have duly executed this Copyright Security
Agreement as of the day and year first above written.

                                        BRIDGELINK ENGINEERING LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN CONSTRUCTION AND
                                        RECLAMATION L.L.C.



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN SAND & GRAVEL LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN INVESTMENTS AND PROPERTIES,
                                        LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BANCORPSOUTH BANK, as Administrative Agent



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]
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                                SCHEDULE I

                                 PATENTS
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                                           EXHIBIT C
                                              TO
                                PLEDGE AND SECURITY AGREEMENT

                          FORM OF TRADEMARK SECURITY AGREEMENT

         TRADEMARK SECURITY AGREEMENT, dated as of [___________], 2021 (as amended,
restated, supplemented or otherwise modified, this “Agreement”), among BRIDGELINK
ENGINEERING LLC, a Delaware limited liability company (the “Borrower”), each Subsidiary party
hereto as of the date hereof (collectively, the “Subsidiaries” and together with the Borrower, the “Grantors”)
and BANCORPSOUTH BANK, as Administrative Agent (in such capacity, the “Administrative Agent”).

         Reference is made to (a) the Credit Agreement, dated as of August 6, 2021, among the Borrower,
the Lenders party thereto and the Administrative Agent (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”), and (b) the Pledge and
Security Agreement, dated as of August 6, 2021, by and among the Grantors party thereto and the
Administrative Agent (as the same may be amended, restated, supplemented or otherwise modified from
time to time, the “Security Agreement”).

         The Lenders have agreed to extend credit to the Borrower subject to the terms and conditions set
forth in the Credit Agreement, the Guarantors have guaranteed Secured Obligations and the Grantors have
secured their obligations pursuant to the Security Agreement. The obligations of the Lenders to extend
such credit are conditioned upon, among other things, the execution and delivery of this Agreement.

           Accordingly, the parties hereto agree as follows:

       1.      Terms. Capitalized terms used in this Agreement and not otherwise defined herein have
the meanings specified in the Security Agreement or the Credit Agreement.

         2.      Grant of Security Interest. As security for the payment or performance, as applicable, in
full when due (whether at the stated maturity, by acceleration or otherwise) of the Secured Obligations,
each Grantor, pursuant to the Security Agreement, did and hereby does grant to the Administrative Agent
(and its successors and assigns), for the ratable benefit of the Secured Parties, a security interest in, all such
Grantor’s right, title and interest in, to or under any and all of the following assets now owned or at any
time hereafter acquired (collectively, the “Trademark Collateral”):

                  (a)     all trademarks, service marks, trade names, corporate names, company names,
business names, fictitious business names, trade styles, trade dress, logos, other source or business
identifiers, prints and labels on which any of the foregoing have appeared or appear, uniform resource
locations (URL’s), domain names, designs and general intangibles of like nature, now existing or hereafter
adopted or acquired and all registrations and recordings thereof and all registration and recording
applications filed in connection therewith, including registrations and registration applications in the United
States Patent and Trademark Office (including, without limitation, those described on Schedule I) (the
“Trademarks”),

                   (b)     all reissues, continuations, extensions and renewals thereof and amendments
thereto,

                   (c)     all goodwill associated therewith or symbolized by any of the foregoing,




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               (d)     all income, fees, royalties, damages and payments now and hereafter due and/or
payable thereunder and with respect thereto, and

                (e)     all other assets, rights and interests that uniquely reflect or embody such goodwill.

          3        Security Agreement. The security interests granted to the Administrative Agent herein are
granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
pursuant to the Security Agreement. Each Grantor hereby acknowledges and affirms that the rights and
remedies of the Administrative Agent with respect to the Trademark Collateral are more fully set forth in
the Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as
if fully set forth herein. In the event of any conflict between the terms of this Agreement and the Security
Agreement, the terms of the Security Agreement shall govern.

        4        Counterparts. This Agreement may be executed in counterparts (and by different parties
hereto in different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
Agreement by facsimile or in electronic (e.g., “pdf” or “tif”) format shall be effective as delivery of a
manually executed counterpart of this Agreement.

        5.       Governing Law. This Agreement shall be governed by, and construed in accordance with,
the laws of the State of Texas (without regard to principles of conflicts of laws).

                                         [Signature page follows]
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      IN WITNESS WHEREOF, the parties hereto have duly executed this Copyright Security
Agreement as of the day and year first above written.

                                        BRIDGELINK ENGINEERING LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN CONSTRUCTION AND
                                        RECLAMATION L.L.C.



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN SAND & GRAVEL LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BIGHORN INVESTMENTS AND PROPERTIES,
                                        LLC



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]


                                        BANCORPSOUTH BANK, as Administrative Agent



                                        By:   ______________________________
                                              Name: [      ]
                                              Title: [     ]
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                                SCHEDULE I

                               TRADEMARKS
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                                        Annex 1

Legal Name(s) of Grantor:

   A. Bridgelink Engineering LLC

   B. Bighorn Construction and Reclamation L.L.C

   C. Bighorn Sand & Gravel LLC

   D. Bighorn Investments and Properties, LLC

Jurisdiction of Organization:

   A. Delaware

   B. Wyoming

   C. Delaware

   D. Wyoming

Locations:

777 Main Street, Suite 2800
Fort Worth, TX 76102
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                                  Annex 2

Commercial Tort Claims: None.
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                                       Annex 3

Commodity Accounts: None.



Deposit Accounts: Converse County Bank; Account Number 1038405.



Securities Accounts: None.
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                                  Annex 4

Copyright Licenses: None.




Copyrights: None.
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                                  Annex 5

Patent Licenses: None.




Patents: None.
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                                  Annex 6

Trademark License: None.




Trademarks: None.
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                                  Annex 7

Letter of Credit Rights: None.
